                               Case 23-1162, Document 12, 08/25/2023, 3561419, Page1 of 95

                          UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                              CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

        1. SEE NOTICE ON REVERSE                           2. PLEASE TYPE OR PRINT                      3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                            District Court or Agency:                 Judge:

 Case No. 23-1162
 NATIONAL ASSOCIATION FOR GUN RIGHTS, and
                                                                          District of Connecticut                  Hon. Janet Bond Arterton
 TONI THERESA SPERA FLANIGAN
  Plaintiffs-Appellants                                                   Date the Order or Judgment Appealed       District Court Docket No.:
 v.                                                                       from was Entered on the Docket:
 NED LAMONT, in his official capacity as the Governor of the                                                       22-cv-1118
 State of Connecticut;                                                    August 3, 2023
 PATRICK J. GRIFFIN, in his official capacity as the Chief
 State’s Attorney of the State of Connecticut; and                        Date the Notice of Appeal was Filed:      Is this a Cross Appeal?
 SHARMESE L. WALCOTT, in her official capacity as the
 State's Attorney, Hartford Judicial District,                            August 16, 2023                           9 Yes          ✔9 No
 Defendants-Appellees

 Attorney(s) for         Counsel’s Name:               Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellant(s):
                         Barry K. Arrington, 4195 Wadsworth Blvd., Wheat Ridge, CO 80033; (303) 205-7870; barry@arringtonpc.com
 9 Plaintiff
 ✔

 9 Defendant


 Attorney(s) for         Counsel’s Name:               Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellee(s):
                         James Michael Belforti, 110 Sherman Street, Hartford, CT 06105, 860-808-5450 james.belforti@ct.gov
 9 Plaintiff
                         Janelle Medeiros, 110 Sherman Street, Hartford, CT 06105, 860-808-5450 janelle.medeiros@ct.gov
 9 Defendant
 ✔


 Has Transcript          Approx. Number of         Number of           Has this matter been before this Circuit previously?    9 Yes          ✔
                                                                                                                                              9 No
 Been Prepared?          Transcript                Exhibits
                         Pages:                    Appended to         If Yes, provide the following:
 Yes                                               Transcript:
                         78                                            Case Name:
                                                 0
                                                                       2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


   ADDENDUM “A”: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
    NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
   THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
           THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

   ADDENDUM “B”: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
           AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                 PART A: JURISDICTION

                     1 . Federal Jurisdiction                                                2 . Appellate Jurisdiction

    9     U.S. a party               9 Diversity                      9    Final Decision                  9 Order Certified by District Judge (i.e.,
                                                                                                             Fed . R. Civ. P. 54(b))
    9
    ✔     Federal question            9 Other (specify):              9
                                                                      ✔    Interlocutory Decision
         (U.S. not a party)                                                Appealable As of Right          9 Other (specify):



                              IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
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                                       PART B: DISTRICT COURT DISPOSITION (Check as many as apply)


 1. Stage of Proceedings                           2. Type of Judgment/Order Appealed                                             3. Relief

 ✔
 9   Pre-trial                  9 Default judgment                 9 Dismissal/other jurisdiction             9 Damages:                           9 Injunctions:
 9   During trial               9 Dismissal/FRCP 12(b)(1)          9 Dismissal/merit
 9   After trial                  lack of subject matter juris.    9 Judgment / Decision of the Court                Sought: $                     ✔9 Preliminary
                                9 Dismissal/FRCP 12(b)(6)          9 Summary judgment                                Granted: $                     9 Permanent
                                  failure to state a claim         9 Declaratory judgment                            Denied: $                     ✔9 Denied
                                9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Jury verdict
                                  frivolous complaint              9 Judgment NOV
                                9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Directed verdict
                                  other dismissal                  9 Other (specify): Prelim. Injunc.
                                                                   ✔




                                                      PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                2. Torts                  3. Contracts              4. Prisoner Petitions

   9 Antitrust             9 Communications        9 Freedom of Information Act      9 Admiralty/              9 Admiralty/             9     Civil Rights
   9 Bankruptcy            9 Consumer Protection   9 Immigration                       Maritime                  Maritime               9     Habeas Corpus
   9 Banks/Banking         9 Copyright 9 Patent    9 Labor                           9 Assault /               9 Arbitration            9     Mandamus
  ✔9 Civil Rights          9 Trademark             9 OSHA                              Defamation              9 Commercial             9     Parole
   9 Commerce              9 Election              9 Securities                      9 FELA                    9 Employment             9     Vacate Sentence
   9 Energy                9 Soc. Security         9 Tax                             9 Products Liability      9 Insurance              9     Other
   9 Commodities           9 Environmental                                           9 Other (Specify):        9 Negotiable
   9 Other (specify):                                                                                          Instruments
                                                                                                               9 Other Specify

 5. Other                                                  6. General                                         7. Will appeal raise constitutional issue(s)?
    9 Hague Int’l Child Custody Conv.                         9 Arbitration                                      9 Yes
                                                                                                                 ✔                  9 No
    9 Forfeiture/Penalty                                      9 Attorney Disqualification
    9 Real Property                                           9 Class Action                                     Will appeal raise a matter of first
    9 Treaty (specify):                                       9 Counsel Fees                                     impression?
    9 Other (specify):                                        9 Shareholder Derivative
                                                              9 Transfer                                         ✔
                                                                                                                 9 Yes              9 No



 1. Is any matter relative to this appeal still pending below?        9 Yes, specify: This is interlocutory appeal
                                                                      ✔                                                                     9 No

 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
        (A) Arises from substantially the same case or controversy as this appeal?                      9 Yes                9 No
                                                                                                                             ✔


          (B)       Involves an issue that is substantially similar or related to an issue in this appeal?      9 Yes                       9 No
                                                                                                                                            ✔


 If yes, state whether 9 “A,” or 9 “B,” or 9 both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                              Docket No.                Citation:                               Court or Agency:


 Name of Appellant:


 Date: 08/25/2023                                          Signature of Counsel of Record: /s/ Barry K. Arrington



                                                                  NOTICE TO COUNSEL
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
 1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
 with LR 25.1.
 2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
 3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
 prosecute the appeal without payment.

          PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
          DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
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                                 ADDENDUM “A”

1. Description of the Action

This action challenges the constitutionality of CONN. GEN. Stat. § 53-202c(a) and
CONN. GEN. STAT. § 53-202w(b) and (c) (collectively, the “Statutes”). The Statutes
ban (1) certain semi-automatic firearms that are held by millions of law-abiding
American citizens for lawful purposes and (2) certain firearm magazines that are
held by millions of law-abiding American citizens for lawful purposes. The Second
Amendment protects the right of law-abiding citizens to own weapons in common
use by law-abiding citizens for lawful purposes. D.C. v. Heller, 554 U.S. 570, 627
(2008); New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).
Plaintiffs claim the Statutes are unconstitutional because the banned arms are in
common use by millions of law-abiding citizens for lawful purposes.

2. The Result Below

Plaintiffs filed a motion for preliminary injunction on January 31, 2023. The United
States District Court for the District of Connecticut, the Honorable Janet Bond
Arterton presiding, denied Plaintiffs’ motion on August 3, 2023.

3. Attachments

Exhibit 1: Notice of Appeal

Exhibit 2: District Court Docket Sheet

Exhibit 3: District Cort Order
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                   EXHIBIT 1
          NOTICE OF APPEAL
            Case
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               3:22-cv-01118-JBA    12, 08/25/2023,
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                                             86 Filed        Page5
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 NATIONAL ASSOCIATION FOR GUN RIGHTS, and                      )
 TONI THERESA SPERA FLANIGAN                                   )
                                                               )
        Plaintiffs,                                            )
                                                               )          Civil Action No.
 v.                                                            )           3:22 CV 1118
                                                               )
 NED LAMONT, is his official capacity as the Governor          )
 of the State of Connecticut; PATRICK J. GRIFFIN, is           )
 his official capacity as the Chief State’s Attorney of the    )
 State of Connecticut; and SHARMESE L. WALCOTT,                )
 in her official capacity as the State's Attorney, Hartford    )
 Judicial District,                                            )
                                                               )
        Defendants.                                            )          August 16, 2023

                                     NOTICE OF APPEAL

       The Plaintiffs, NATIONAL ASSOCIATION FOR GUN RIGHTS, and TONI THERESA

SPERA FLANIGAN, appeal to the United States Court of Appeals for the Second Circuit from

the Order (Docket Entry No. 85) denying the Plaintiffs’ Motion for Preliminary Injunction

(Docket Entry No. 28) entered on August 3, 2023.

                                                              THE PLAINTIFFS
                                                              NATIONAL ASSOCIATION FOR
                                                              GUN RIGHTS, and TONI
                                                              THERESA SPERA FLANIGAN

                                                              Barry K. Arrington, pro hac vice
                                                              3801 E. Florida Ave., Suite 830
                                                              Denver, CO 80210
                                                              (303) 205-7870
                                                              barry@arringtonpc.com




                                               -1-
           Case
         Case    23-1162, Document
              3:22-cv-01118-JBA    12, 08/25/2023,
                                 Document          3561419,
                                            86 Filed        Page6
                                                     08/16/23 Pageof 295
                                                                       of 2




                                                            /s/ John Radshaw
                                                            John J. Radshaw (ct19882)
                                                            65 Trumbull Street, 2d Floor
                                                            New Haven, CT 06510
                                                            (203) 654-9695 | (203) 721-6182 f
                                                            jjr@jjr-esq.com


                                   CERTIFICATION

        I hereby certify that on AUGUST 16, 2023, a copy of foregoing was filed electronically.
Notice of this filing will be sent by e-mail to all appearing parties by operation of the Court’s
electronic filing. Parties may access this filing through the Court’s system.



                                                 /s/ John J. Radshaw III
                                                 _____________________________
                                                 John J. Radshaw III




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               Exhibit 2
            DOCKET SHEET
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                                                            CT CMECF NextGen

                                                                                                                   APPEAL,EFILE

                                                 U.S. District Court
                                       District of Connecticut (New Haven)
                                 CIVIL DOCKET FOR CASE #: 3:22-cv-01118-JBA


 National Association for Gun Rights et al v. Lamont et al                             Date Filed: 09/06/2022
 Assigned to: Judge Janet Bond Arterton                                                Jury Demand: Defendant
 Cause: 42:1983 Civil Rights Act                                                       Nature of Suit: 440 Civil Rights: Other
                                                                                       Jurisdiction: Federal Question
 Plaintiff
 National Association for Gun Rights                                     represented by Barry K Arrington
                                                                                        Arrington Law Firm
                                                                                        4195 Wadsworth Boulevard
                                                                                        Wheat Ridge, CO 80033
                                                                                        303-205-7870
                                                                                        Email: barry@arringtonpc.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       John J. Radshaw , III
                                                                                       John J. Radshaw III, Esquire
                                                                                       65 Trumbull Street, 2d Fl.
                                                                                       New Haven, CT 06510
                                                                                       203-654-9695
                                                                                       Fax: 203-721-6182
                                                                                       Email: jjr@jjr-esq.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 Patricia Brought                                                        represented by John J. Radshaw , III
 TERMINATED: 09/13/2022                                                                 (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Toni Theresa Spera Flanigan                                             represented by Barry K Arrington
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       John J. Radshaw , III
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


 V.
 Defendant
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?179119648635911-L_1_0-1                                                           1/11
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                                                            CT CMECF NextGen

 Ned Lamont                                                              represented by James Michael Belforti
 is his official capacity as the Governor of                                            Office of the Attorney General
 the State of Connecticut                                                               110 Sherman Street
                                                                                        Hartford, CT 06002
                                                                                        860-808-5436
                                                                                        Fax: 860-808-5591
                                                                                        Email: james.belforti@ct.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Janelle Medeiros
                                                                                        Office of the Attorney General
                                                                                        Public Safety
                                                                                        110 Sherman Street
                                                                                        Hartford, CT 06105
                                                                                        860-808-5450
                                                                                        Fax: 860-808-5591
                                                                                        Email: janelle.medeiros@ct.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Terrence M. O'Neill
                                                                                        Attorney General's Office
                                                                                        110 Sherman St.
                                                                                        Hartford, CT 06105
                                                                                        860-808-5450
                                                                                        Fax: 860-808-5591
                                                                                        Email: terrence.oneill@ct.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Patrick J. Griffin                                                      represented by James Michael Belforti
 is his official capacity as the Chief States                                           (See above for address)
 Attorney of the State of Connecticut                                                   LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Janelle Medeiros
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Terrence M. O'Neill
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 David R. Shannon
 in his official capacity as the State's
 Attorney, Litchfield Judicial District
 TERMINATED: 09/13/2022
 Defendant
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?179119648635911-L_1_0-1                                                   2/11
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                                                                   NextGen  Page10 of 95
 Sharmese L. Walcott                                                     represented by James Michael Belforti
 in her official capacity as the State's                                                (See above for address)
 Attorney, Hartford Judicial District                                                   LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Janelle Medeiros
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Terrence M. O'Neill
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
 Amicus
 Brady                                                                   represented by Daniel Scott Noble
                                                                                        Finn Dixon & Herling LLP
                                                                                        6 Landmark Square
                                                                                        Ste 600
                                                                                        06901
                                                                                        Stamford, CT 06901
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                                                                                        Email: dnoble@fdh.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Timothy Channing Hester
                                                                                       Covington & Burling
                                                                                       850 Tenth Street, N.W.
                                                                                       Washington, DC 20001-4956
                                                                                       202-662-5324
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                                                                                       Email: thester@cov.com
                                                                                       ATTORNEY TO BE NOTICED
 Amicus
 March for Our Lives                                                     represented by Daniel Scott Noble
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Timothy Channing Hester
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Amicus
 Giffords Law Center to Prevent Gun                                      represented by Aaron R. Marcu
 Violence                                                                               Freshfields Bruckhaus Deringer US LLP
                                                                                        601 Lexington Avenue
                                                                                        31st Floor
                                                                                        New York, NY 10022

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                                                                    212-284-4854
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                                                                                      Deirdre M. Daly
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                                                                                      203-325-5000
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                                                                                      Elliot Friedman
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                                                                                      Freshfields Bruckhaus Deringer US LLP
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                                                                                      Jennifer Loeb
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                                                                                      Washington, DC 20005
                                                                                      202-777-4524
                                                                                      Email: jennifer.loeb@freshfields.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

 Amicus
 Everytown for Gun Safety Support Fund                                   represented by Damian K. Gunningsmith
                                                                                        Carmody Torrance Sandak & Hennessey,
                                                                                        LLP - NH
                                                                                        195 Church St. 18th floor
                                                                                        PO Box 1950
                                                                                        New Haven, CT 06509-1950
                                                                                        203-777-5501
                                                                                        Fax: 203-784-3199
                                                                                        Email: dgunningsmith@carmodylaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      William James Taylor , Jr
                                                                                      Everytown Law
                                                                                      450 Lexington Ave.
                                                                                      #4184
                                                                                      10017
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                                                                     New York, NY 10271-0332
                                                                     646-324-8215
                                                                     Email: wtaylor@everytown.org
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED


  Date Filed             #    Docket Text
  09/06/2022             1 COMPLAINT against Patrick J. Griffin, Ned Lamont, David R. Shannon ( Filing fee $402
                           receipt number ACTDC-7057374.), filed by National Association for Gun Rights, Patricia
                           Brought. (Attachments: # 1 Civil Cover Sheet)(Radshaw, John) (Entered: 09/06/2022)
  09/06/2022                  Request for Clerk to issue summons as to Patrick J. Griffin, Ned Lamont, David R.
                              Shannon. (Radshaw, John) (Entered: 09/06/2022)
  09/06/2022                  Judge Janet Bond Arterton added. (Oliver, T.) (Entered: 09/06/2022)
  09/06/2022             2 Order on Pretrial Deadlines: Amended Pleadings due by 11/6/2022 Discovery due by
                           3/9/2023 Dispositive Motions due by 4/13/2023
                           Signed by Clerk on 9/6/2022.(Chartier, AnnMarie) Modified to correct file date on
                           9/7/2022 (Chartier, AnnMarie). (Entered: 09/07/2022)
  09/06/2022             3 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE COMPLIANCE
                           WITH COURTESY COPY REQUIREMENTS IN THIS ORDER
                           Signed by Judge Janet Bond Arterton on 9/6/2022.(Chartier, AnnMarie) (Entered:
                           09/07/2022)
  09/06/2022             4 STANDING PROTECTIVE ORDER
                           Signed by Judge Janet Bond Arterton on 9/6/2022.(Chartier, AnnMarie) (Entered:
                           09/07/2022)
  09/07/2022             5 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or self-represented
                           parties initiating or removing this action are responsible for serving all parties with
                           attached documents and copies of 2 Order on Pretrial Deadlines, 1 Complaint filed by
                           National Association for Gun Rights, Patricia Brought, 4 Protective Order, 3 Electronic
                           Filing Order
                           Signed by Clerk on 9/7/2022.(Chartier, AnnMarie) (Entered: 09/07/2022)
  09/07/2022             6 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4 as to
                           *Patrick J. Griffin, Ned Lamont, David R. Shannon* with answer to complaint due within
                           *21* days. Attorney *John J. Radshaw, III* *John J. Radshaw III, Esquire* *65 Trumbull
                           Street, 2d Fl.* *New Haven, CT 06510*. (Chartier, AnnMarie) (Entered: 09/07/2022)
  09/08/2022             7 MOTION for Attorney(s) Chris Wiest to be Admitted Pro Hac Vice (paid $200 PHV fee;
                           receipt number ACTDC-7061021) by Patricia Brought, National Association for Gun
                           Rights. (Attachments: # 1 Affidavit of Attorney Chris Wiest, # 2 Certificate of Good
                           Standing - Ohio, # 3 Certificate of Good Standing - Kentucky)(Radshaw, John) (Entered:
                           09/08/2022)
  09/12/2022             8 ORDER granting 7 Motion to Appear Pro Hac Vice. Signed by Clerk on 9/12/2022.
                           (Chartier, AnnMarie) (Entered: 09/12/2022)
  09/13/2022             9 AMENDED COMPLAINT as of Right against All Defendants, filed by National
                           Association for Gun Rights, Patricia Brought.(Radshaw, John) (Entered: 09/13/2022)
  09/13/2022            10 MOTION for Christopher Wiest to Withdraw as Attorney by Patricia Brought, National
                           Association for Gun Rights. (Wiest, Christopher) (Entered: 09/13/2022)

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                                                           CT CMECF3561419,
                                                                   NextGen  Page13 of 95
  09/15/2022            11 MOTION for Attorney(s) Barry Arrington to be Admitted Pro Hac Vice (paid $200 PHV
                           fee; receipt number ACTDC-7069306) by National Association for Gun Rights, Toni
                           Theresa Spera Flanigan. (Attachments: # 1 Affidavit of Barry Arrington)(Radshaw, John)
                           (Entered: 09/15/2022)
  09/15/2022                  Request for Clerk to issue summons as to Sharmese L. Walcott. (Radshaw, John) (Entered:
                              09/15/2022)
  09/20/2022            12 ORDER granting 11 Motion to Appear Pro Hac Vice. Certificate of Good Standing due by
                           11/19/2022. Signed by Clerk on 9/20/2022. (Chartier, AnnMarie) (Entered: 09/20/2022)
  09/20/2022            13 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4 as to
                           *Sharmese L. Walcott* with answer to complaint due within *21* days. Attorney *John J.
                           Radshaw, III* *John J. Radshaw III, Esquire* *65 Trumbull Street, 2d Fl.* *New Haven,
                           CT 06510*. (Chartier, AnnMarie) (Entered: 09/20/2022)
  09/20/2022            14 ORDER granting 10 Motion to Withdraw as Attorney Christopher West. Signed by Judge
                           Janet Bond Arterton on 9/20/22. (Tooker, Aimee) (Entered: 09/20/2022)
  09/20/2022            15 SUMMONS Returned Executed by Toni Theresa Spera Flanigan, National Association for
                           Gun Rights. Patrick J. Griffin served on 9/13/2022, answer due 10/4/2022; Ned Lamont
                           served on 9/13/2022, answer due 10/4/2022; David R. Shannon served on 9/13/2022,
                           answer due 10/4/2022. (Radshaw, John) (Entered: 09/20/2022)
  09/21/2022            16 NOTICE of Appearance by Barry K Arrington on behalf of National Association for Gun
                           Rights, Toni Theresa Spera Flanigan (Arrington, Barry) (Entered: 09/21/2022)
  09/21/2022            17 Corporate Disclosure Statement by National Association for Gun Rights. (Radshaw, John)
                           (Entered: 09/21/2022)
  09/30/2022            18 NOTICE of Appearance by Janelle Medeiros on behalf of Patrick J. Griffin, Ned Lamont,
                           Sharmese L. Walcott (Medeiros, Janelle) (Entered: 09/30/2022)
  09/30/2022            19 NOTICE of Appearance by James Michael Belforti on behalf of Patrick J. Griffin, Ned
                           Lamont, Sharmese L. Walcott (Belforti, James) (Entered: 09/30/2022)
  09/30/2022            20 NOTICE of Appearance by Terrence M. O'Neill on behalf of Patrick J. Griffin, Ned
                           Lamont, Sharmese L. Walcott (O'Neill, Terrence) (Entered: 09/30/2022)
  09/30/2022            21 MOTION FOR A PRE-FILING CONFERENCE by Patrick J. Griffin, Ned Lamont,
                           Sharmese L. Walcott.Responses due by 10/21/2022 (Medeiros, Janelle) (Entered:
                           09/30/2022)
  10/04/2022            22 ORDER granting 21 Motion for Pre-Filing Conference. Signed by Judge Janet Bond
                           Arterton on 10/4/22. (Tooker, Aimee) (Entered: 10/04/2022)
  10/04/2022                  A telephonic pre-filing conference will be held 10/26/22 at 3:00 p.m. as follows:1-877-
                              402-9753; access code: 3535720. (Tooker, Aimee) (Entered: 10/04/2022)
  10/13/2022            23 CERTIFICATE OF GOOD STANDING re 11 MOTION for Attorney(s) Barry Arrington
                           to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number ACTDC-7069306) by
                           National Association for Gun Rights, Toni Theresa Spera Flanigan. (Attachments: # 1
                           Colorado, # 2 Texas)(Radshaw, John) (Entered: 10/13/2022)
  10/20/2022                  The parties' telephonic pre-filing conference has been rescheduled to 10/28/22 at 2:30 p.m.
                              All call in details remain unchanged. (Tooker, Aimee) (Entered: 10/20/2022)
  10/21/2022            24 MOTION to Amend/Correct Complaint by National Association for Gun Rights, Toni
                           Theresa Spera Flanigan.Responses due by 11/11/2022 (Attachments: # 1 Proposed
                           Amended Complaint)(Arrington, Barry) (Entered: 10/21/2022)
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                                                           CT CMECF3561419,
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  10/25/2022            25 ORDER granting 24 Motion to Amend/Correct Complaint, on consent. The Clerk is
                           requested to docket Second Amended Complaint as the operative complaint in this case.
                           Signed by Judge Janet Bond Arterton on 10/24/22. (Tooker, Aimee) (Entered: 10/25/2022)
  10/25/2022            26 SECOND AMENDED COMPLAINT against Patrick J. Griffin, Ned Lamont, Sharmese L.
                           Walcott, filed by Toni Theresa Spera Flanigan, National Association for Gun Rights.
                           (Sichanh, Christina) (Entered: 10/26/2022)
  10/28/2022            29 Minute Entry for proceedings held before Judge Janet Bond Arterton: Telephonic Pre-
                           Filing Conference held on 10/28/2022. TOTAL TIME: 25 minutes(Court Reporter Corrine
                           Thomas.) (Sichanh, Christina) (Entered: 11/10/2022)
  10/31/2022            27 SCHEDULING ORDER: Pursuant to the colloquy with counsel on the record 10/28/22,
                           the following is ordered: (1) Defendants' motion to dismiss will be filed by 11/18/22;
                           opposition will be filed by 12/9/22; reply, if any, will be filed by 12/23/22. (2) The parties'
                           26(f) Planning Report shall be filed ten days following ruling. (Tooker, Aimee) (Entered:
                           10/31/2022)
  11/03/2022            28 MOTION for Preliminary Injunction by National Association for Gun Rights, Toni
                           Theresa Spera Flanigan.Responses due by 11/24/2022 (Attachments: # 1 Memorandum in
                           Support, # 2 Affidavit, # 3 Affidavit, # 4 Affidavit)(Arrington, Barry) (Entered:
                           11/03/2022)
  11/16/2022            30 SCHEDULING ORDER: On consent of the parties, the deadline for Defendant's response
                           to the Plaintiff's Motion for Preliminary Injunction 28 is reset to January 31, 2023;
                           Plaintiff's reply is due March 2, 2023. Oral argument will be held March 22, 2023, at 11
                           AM in Courtroom Two, 141 Church St., New Haven, CT. Signed by Judge Janet Bond
                           Arterton on 11/16/2022. (Anderson, Colleen) (Entered: 11/16/2022)
  11/17/2022            31 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
                           PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE COURTHOUSE MUST
                           PRESENT PHOTO IDENTIFICATION. Oral Argument re 28 is scheduled for 3/22/2023
                           at 11:00 AM in Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond
                           Arterton. (Sichanh, Christina) (Entered: 11/17/2022)
  11/18/2022            32 MOTION to Dismiss by Patrick J. Griffin, Ned Lamont, Sharmese L. Walcott.Responses
                           due by 12/9/2022 (Attachments: # 1 Memorandum in Support)(Medeiros, Janelle)
                           (Entered: 11/18/2022)
  12/09/2022            33 RESPONSE to Motion to Dismiss filed by National Association for Gun Rights, Toni
                           Theresa Spera Flanigan. (Attachments: # 1 Declaration)(Arrington, Barry) (Entered:
                           12/09/2022)
  12/23/2022            34 REPLY to Response to 32 MOTION to Dismiss filed by Patrick J. Griffin, Ned Lamont,
                           Sharmese L. Walcott. (Belforti, James) (Entered: 12/23/2022)
  12/24/2022            35 MOTION to Strike Reply in Support of Motion to Dismiss by National Association for Gun
                           Rights, Toni Theresa Spera Flanigan.Responses due by 1/14/2023 (Arrington, Barry)
                           (Entered: 12/24/2022)
  01/26/2023            36 MOTION for Leave to File Excess Pages by Patrick J. Griffin, Ned Lamont, Sharmese L.
                           Walcott. (Medeiros, Janelle) (Entered: 01/26/2023)
  01/31/2023            37 OBJECTION re 28 MOTION for Preliminary Injunction filed by Patrick J. Griffin, Ned
                           Lamont, Sharmese L. Walcott. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                           4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)(Medeiros, Janelle)
                           (Entered: 01/31/2023)


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  02/02/2023            38 NOTICE of Appearance by Daniel Scott Noble on behalf of Brady, March for Our Lives
                           (Noble, Daniel) (Entered: 02/02/2023)
  02/02/2023            39 MOTION for Attorney(s) Timothy C. Hester to be Admitted Pro Hac Vice (paid $200 PHV
                           fee; receipt number ACTDC-7221457) by Brady, March for Our Lives. (Noble, Daniel)
                           (Entered: 02/02/2023)
  02/03/2023            40 NOTICE of Appearance by Deirdre M. Daly on behalf of Giffords Law Center to Prevent
                           Gun Violence (Daly, Deirdre) (Entered: 02/03/2023)
  02/06/2023            41 ORDER granting 39 Motion for Timothy C. Hester to Appear Pro Hac Vice Certificate of
                           Good Standing due by 4/7/2023. Signed by Clerk on 2/6/2023. (Sichanh, Christina)
                           (Entered: 02/06/2023)
  02/06/2023            42 MOTION for Attorney(s) Jennifer Loeb to be Admitted Pro Hac Vice (paid $200 PHV fee;
                           receipt number ACTDC-7226242) by Giffords Law Center to Prevent Gun Violence.
                           (Daly, Deirdre) (Entered: 02/06/2023)
  02/06/2023            43 MOTION for Attorney(s) Aaron R. Marcu to be Admitted Pro Hac Vice (paid $200 PHV
                           fee; receipt number ACTDC-7226258) by Giffords Law Center to Prevent Gun Violence.
                           (Daly, Deirdre) (Entered: 02/06/2023)
  02/06/2023            44 MOTION for Attorney(s) Elliot Friedman to be Admitted Pro Hac Vice (paid $200 PHV
                           fee; receipt number ACTDC-7226272) by Giffords Law Center to Prevent Gun Violence.
                           (Daly, Deirdre) (Entered: 02/06/2023)
  02/06/2023            45 ORDER granting 42 Motion for Jennifer Loeb to Appear Pro Hac Vice. Signed by Clerk
                           on 2/6/2023. (Sichanh, Christina) (Entered: 02/06/2023)
  02/06/2023            46 ORDER granting 43 Motion for Aaron R. Marcu to Appear Pro Hac Vice. Signed by Clerk
                           on 2/6/2023. (Sichanh, Christina) (Entered: 02/06/2023)
  02/06/2023            47 ORDER granting 44 Motion for Elliot Friedman to Appear Pro Hac Vice. Signed by Clerk
                           on 2/6/2023. (Sichanh, Christina) (Entered: 02/06/2023)
  02/07/2023            48 NOTICE by Giffords Law Center to Prevent Gun Violence re 46 Order on Motion for
                           Admission Pro Hac Vice, 45 Order on Motion for Admission Pro Hac Vice, 47 Order on
                           Motion for Admission Pro Hac Vice (Daly, Deirdre) (Entered: 02/07/2023)
  02/07/2023            49 Amicus Curiae APPEARANCE entered by Damian K. Gunningsmith on behalf of
                           Everytown for Gun Safety Support Fund. (Gunningsmith, Damian) (Entered: 02/07/2023)
  02/07/2023            50 Amicus Curiae APPEARANCE entered by Aaron R. Marcu on behalf of Giffords Law
                           Center to Prevent Gun Violence. (Marcu, Aaron) (Entered: 02/07/2023)
  02/07/2023            51 Amicus Curiae APPEARANCE entered by Jennifer Loeb on behalf of Giffords Law
                           Center to Prevent Gun Violence. (Loeb, Jennifer) (Entered: 02/07/2023)
  02/07/2023            52 Amicus Curiae APPEARANCE entered by Elliot Friedman on behalf of Giffords Law
                           Center to Prevent Gun Violence. (Friedman, Elliot) (Entered: 02/07/2023)
  02/07/2023            53 Corporate Disclosure Statement by Everytown for Gun Safety Support Fund.
                           (Gunningsmith, Damian) (Entered: 02/07/2023)
  02/07/2023            54 NOTICE of Appearance by Timothy Channing Hester on behalf of Brady, March for Our
                           Lives (Hester, Timothy) (Entered: 02/07/2023)
  02/07/2023            55 MOTION for Leave to File Amicus Curiae Brief by Brady, March for Our Lives.
                           (Attachments: # 1 Exhibit [Proposed] Amicus Curiae Brief)(Hester, Timothy) (Entered:
                           02/07/2023)
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  02/07/2023            56 Corporate Disclosure Statement by Giffords Law Center to Prevent Gun Violence. (Loeb,
                           Jennifer) (Entered: 02/07/2023)
  02/07/2023            57 MOTION for Leave to File Amicus Curiae Brief by Giffords Law Center to Prevent Gun
                           Violence. (Attachments: # 1 Exhibit [Proposed] Amicus Curiae Brief)(Loeb, Jennifer)
                           (Entered: 02/07/2023)
  02/07/2023            58 MOTION for Leave to File Amicus Curiae Brief by Everytown for Gun Safety Support
                           Fund. (Attachments: # 1 Exhibit [Proposed] Amicus Curiae Brief)(Gunningsmith, Damian)
                           (Entered: 02/07/2023)
  02/08/2023            59 CERTIFICATE OF GOOD STANDING re 39 MOTION for Attorney(s) Timothy C.
                           Hester to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number ACTDC-
                           7221457) by Brady, March for Our Lives. (Hester, Timothy) (Entered: 02/08/2023)
  02/09/2023            60 MOTION for Attorney(s) William J. Taylor, Jr. to be Admitted Pro Hac Vice (paid $200
                           PHV fee; receipt number ACTDC-7230564) by Everytown for Gun Safety Support Fund.
                           (Attachments: # 1 Exhibit A)(Gunningsmith, Damian) (Entered: 02/09/2023)
  02/27/2023            61 AFFIDAVIT re 60 MOTION for Attorney(s) William J. Taylor, Jr. to be Admitted Pro Hac
                           Vice (paid $200 PHV fee; receipt number ACTDC-7230564) Signed By William J. Taylor,
                           Jr. filed by Everytown for Gun Safety Support Fund. (Gunningsmith, Damian) (Entered:
                           02/27/2023)
  02/28/2023            62 MOTION for Leave to File Excess Pages by National Association for Gun Rights, Toni
                           Theresa Spera Flanigan. (Arrington, Barry) (Entered: 02/28/2023)
  03/02/2023            63 ORDER granting 60 Motion to Appear Pro Hac Vice Certificate of Good Standing due by
                           5/1/2023. Signed by Judge Janet Bond Arterton on 3/2/2023. (Sichanh, Christina)
                           (Entered: 03/02/2023)
  03/02/2023            64 REPLY to Response to 28 MOTION for Preliminary Injunction filed by National
                           Association for Gun Rights, Toni Theresa Spera Flanigan. (Attachments: # 1 Exhibit, # 2
                           Declaration)(Arrington, Barry) (Entered: 03/02/2023)
  03/02/2023            65 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
                           PARTIES WILL RECEIVE. Oral argument on Motion to Dismiss will be held 3/10/23 at
                           11:00 AM in Courtroom Two, 141 Church Street, New Haven, CT.(Tooker, Aimee)
                           (Entered: 03/02/2023)
  03/02/2023            66 MOTION Reschedule Oral Argument re 65 Calendar Entry by National Association for
                           Gun Rights, Toni Theresa Spera Flanigan.Responses due by 3/23/2023 (Arrington, Barry)
                           (Entered: 03/02/2023)
  03/03/2023            67 ORDER: Plaintiffs' motion to reschedule the March 10, 2023 oral argument 66 is
                           GRANTED with modification as follows. In light of Plaintiffs' objection that Plaintiff
                           Flanigan's standing is raised for the first time in Defendants' reply, Defendants' motion to
                           dismiss 32 is DENIED without prejudice. Plaintiffs are granted leave to amend their
                           complaint to address Defendants' arguments as to Plaintiffs' standing by March 10, 2023.
                           Defendants may refile an amended motion to dismiss by March 17, 2023 with Plaintiffs'
                           response due by March 24, 2023, and any reply by Defendants due March 29, 2023. The
                           oral argument on the motion to dismiss scheduled for March 10, 2023 is cancelled. The
                           preliminary injunction oral argument currently scheduled for March 22, 2023 will be
                           postponed; if the Court does not grant Defendants' motion to dismiss, a new date will be
                           promptly set. Plaintiffs' motion to strike Defendants' reply 35 is denied as moot. Signed by
                           Judge Janet Bond Arterton on 3/3/2023. (Anderson, Colleen) (Entered: 03/03/2023)


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  03/03/2023                  Set Deadlines/Hearings: Amended Pleadings due by 3/10/2023 (Sichanh, Christina)
                              (Entered: 03/07/2023)
  03/06/2023            68 ORDER finding as moot 36 Motion for Leave to File Excess Pages in light of
                           Memorandum 37 ; granting 62 Motion for Leave to File Excess Pages. Plaintiffs' Reply in
                           Support of Motion for Preliminary Injunction may not exceed 48 pages. Signed by Judge
                           Janet Bond Arterton on 3/6/23. (Tooker, Aimee) (Entered: 03/06/2023)
  03/07/2023            69 AMENDED COMPLAINT against All Defendants, filed by Toni Theresa Spera Flanigan,
                           National Association for Gun Rights.(Arrington, Barry) (Entered: 03/07/2023)
  03/17/2023            70 Consent MOTION for Extension of Time until March 31, 2023 of the deadline to respond
                           to Plaintiffs' Third Amended Complaint by Patrick J. Griffin, Ned Lamont, Sharmese L.
                           Walcott. (Belforti, James) (Entered: 03/17/2023)
  03/21/2023            71 ORDER granting 70 Motion for Extension of Time to respond to Plaintiffs' Amended
                           Complaint, 69 , on consent, to 3/31/23. Signed by Judge Janet Bond Arterton on 3/21/23.
                           (Tooker, Aimee) (Entered: 03/21/2023)
  03/21/2023                  Answer deadline updated for All Defendants. (Tooker, Aimee) (Entered: 03/21/2023)
  03/23/2023            72 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
                           PARTIES WILL RECEIVE. Oral Argument on Motion for Preliminary Injunction 28 will
                           be held May 9, 2023 at 3:00 p.m. in Courtroom Two, 141 Church St., New Haven, CT.
                           (Tooker, Aimee) (Entered: 03/23/2023)
  03/31/2023            73 ANSWER to 69 Amended Complaint with Affirmative Defenses. by Patrick J. Griffin,
                           Ned Lamont, Sharmese L. Walcott.(Medeiros, Janelle) (Entered: 03/31/2023)
  04/12/2023            74 ORDER granting 55 Motion for Leave to File; granting 57 Motion for Leave to File;
                           granting 58 Motion for Leave to File. Signed by Judge Janet Bond Arterton on 4/12/23.
                           (Tooker, Aimee) (Entered: 04/12/2023)
  04/13/2023            75 NOTICE by Giffords Law Center to Prevent Gun Violence of Filing of Amicus Brief in
                           Support of Defendant's Opposition to Plaintiffs' Motion for Preliminary Injunction - Leave
                           to File Granted April 12, 2023 (Loeb, Jennifer) (Entered: 04/13/2023)
  04/17/2023            76 NOTICE of Appearance by William James Taylor, Jr on behalf of Everytown for Gun
                           Safety Support Fund (Taylor, William) (Entered: 04/17/2023)
  04/17/2023            77 CERTIFICATE OF GOOD STANDING re 60 MOTION for Attorney(s) William J. Taylor,
                           Jr. to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number ACTDC-7230564) by
                           Everytown for Gun Safety Support Fund. (Taylor, William) (Entered: 04/17/2023)
  04/17/2023            78 Memorandum in Opposition re 28 MOTION for Preliminary Injunction filed by
                           Everytown for Gun Safety Support Fund. (Taylor, William) (Entered: 04/17/2023)
  04/18/2023            79 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
                           PARTIES WILL RECEIVE. Oral argument has been rescheduled to 6/5/23 at 11:00 a.m.,
                           Courtroom Two, 141 Church St., New Haven, CT. (Tooker, Aimee) (Entered: 04/18/2023)
  04/18/2023            80 NOTICE by Brady, March for Our Lives of Filing of Amicus Brief in Support of
                           Defendants' Opposition to Plaintiffs' Motion for Preliminary Injunction - Leave to File
                           Granted April 12, 2023 (Hester, Timothy) (Entered: 04/18/2023)
  06/02/2023            81 NOTICE by Patrick J. Griffin, Ned Lamont, Sharmese L. Walcott re 37 Objection,
                           (Medeiros, Janelle) (Entered: 06/02/2023)
  06/02/2023            82 NOTICE by Patrick J. Griffin, Ned Lamont, Sharmese L. Walcott of Supplemental
                           Authority (Medeiros, Janelle) (Entered: 06/02/2023)
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  06/05/2023            84 Minute Entry. Proceedings held before Judge Janet Bond Arterton: taking under
                           advisement re 28 MOTION for Preliminary Injunction filed by National Association for
                           Gun Rights, Toni Theresa Spera Flanigan. Total Time: 1 hour and 51 minutes (Court
                           Reporter Corinne Thomas) (Barry, L) (Entered: 06/23/2023)
  06/12/2023            83 TRANSCRIPT of Proceedings: Type of Hearing: Oral Argument. Held on 6/5/2023 before
                           Judge Janet Bond Arterton. Court Reporter: Corinne Thomas. IMPORTANT NOTICE -
                           REDACTION OF TRANSCRIPTS: To remove personal identifier information from the
                           transcript, a party must electronically file a Notice of Intent to Request Redaction with the
                           Clerk's Office within seven (7) calendar days of this date. If no such Notice is filed, the
                           court will assume redaction of personal identifiers is not necessary and the transcript will
                           be made available through PACER without redaction 90 days from today's date. The
                           transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. The policy governing the redaction of personal
                           information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                           due 7/3/2023. Redacted Transcript Deadline set for 7/13/2023. Release of Transcript
                           Restriction set for 9/10/2023. (Thomas, Corinne) (Entered: 06/12/2023)
  08/03/2023            85 ORDER denying 28 Motion for Preliminary Injunction. Signed by Judge Janet Bond
                           Arterton on 08/03/2023. (Anderson, Colleen) (Entered: 08/03/2023)
  08/16/2023            86 NOTICE OF APPEAL as to 85 Order on Motion for Preliminary Injunction by National
                           Association for Gun Rights, Toni Theresa Spera Flanigan. Filing fee $ 505, receipt number
                           ACTDC-7450658. (Radshaw, John) (Entered: 08/16/2023)
  08/17/2023            87 CLERK'S CERTIFICATE RE: INDEX AND RECORD ON APPEAL re: 86 Notice of
                           Appeal. The attached docket sheet is hereby certified as the entire Index/Record on Appeal
                           in this matter and electronically sent to the Court of Appeals, with the exception of any
                           manually filed documents as noted below. Dinah Milton Kinney, Clerk. Documents
                           manually filed not included in this transmission: none (Sichanh, Christina) (Entered:
                           08/17/2023)



                                                         PACER Service Center
                                                              Transaction Receipt
                                                                08/25/2023 11:35:36
                                    PACER Login: BKArrington             Client Code:
                                    Description:       Docket Report Search Criteria: 3:22-cv-01118-JBA
                                    Billable Pages: 9                    Cost:          0.90




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                     Exhibit 3
ORDER FORMING THE BASIS FOR
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                                                  UNITED STATES DISTRICT COURT
                                                    DISTRICT OF CONNECTICUT

 NATIONAL ASSOCIATION FOR GUN RIGHTS and
 TONI FLANIGAN
                                                                                             Civil No. 3:22-1118 (JBA)
                Plaintiffs,

                v.                                                                           August 3, 2023

 EDWARD M. LAMONT, JR., in his official capacity,
 et al.,
                Defendants.

                   DECISION ON PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

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I.     Summary of Decision

       On December 14, 2012, at Sandy Hook Elementary school, a shooter armed with an

AR-15 and two semiautomatic pistols fired 154 shots in less than five minutes and killed 26

people. In response, the Connecticut State Legislature passed “An Act Concerning Gun

Violence Prevention and Children’s Safety” in 2013. Two provisions of that law are Conn.

Gen. Stat. § 53-202c(a) and Conn. Gen. Stat. § 53-202w(b) and (c) (the “Challenged

Statutes”), which restrict the ability of individuals in the state of Connecticut to own,

purchase, and use specific types of firearms and accessories, collectively defined as “assault

weapons”, as well as large capacity magazines (“LCMs”), which are magazines with the

capacity to hold more than ten rounds of ammunition.

       Plaintiffs National Association for Gun Rights (“NAGR”) and Toni Theresa Spera

Flanigan believe that by prohibiting them from purchasing the banned assault weapons

and LCMs, the Challenged Statutes violate their Second Amendment right to keep and bear

arms. Their view is grounded in the Supreme Court’s decision in District of Columbia v.

Heller, 554 U.S. 570 (2008), that a complete ban on handguns violates the individual Second

Amendment right to keep and bear arms, as well as the Supreme Court’s more recent

holding in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (Jun. 23,

2022) that any law restricting the right to keep and bear arms under the Second

Amendment is only justified if the government can demonstrate that it is consistent with

this Nation’s history and tradition of firearm regulation. Plaintiffs’ suit against Defendants

Connecticut Governor Ned Lamont, Chief State’s Attorney Patrick Griffin, and Sharmese

Walcott, State’s Attorney for the Hartford Judicial District seeks to have enforcement of the

Challenged Statutes permanently enjoined as unconstitutional. Currently before the Court

is Plaintiffs’ motion for a preliminary injunction [Doc. # 28] seeking to temporarily enjoin

enforcement of the Challenged Statutes until final disposition of this case.

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       For the reasons discussed below, the Court denies Plaintiffs’ motion for a

preliminary injunction because they have failed to meet their burden to demonstrate a

likelihood of success on their claim that the challenged statutes unconstitutionally burden

their Second Amendment right to keep and bear arms. Plaintiffs’ proposed ownership of

assault weapons and LCMs is not protected by the Second Amendment because they have

not demonstrated that the specific assault weapons and LCMs in the Challenged Statutes

are commonly sought out, purchased, and used for self-defense. Although this failure alone

would have been fatal to Plaintiffs’ claim, Defendants have submitted persuasive evidence

that assault weapons and LCMs are more often sought out for their militaristic

characteristics than for self-defense, that these characteristics make the weapons

disproportionately dangerous to the public based on their increased capacity for lethality,

and that assault weapons and LCMs are more often used in crimes and mass shootings than

in self-defense. Defendants also show through the submission of historically analogous

statutes and expert declarations that when a modern innovation in firearm technology

results in a particular type of weapon or method of carrying being utilized for unlawful

purposes to terrorize and endanger the public, the Nation has a longstanding history and

tradition of regulating those aspects of the weapons or manners of carry that correlate with

rising firearm violence. The record shows that the Challenged Statutes are consistent with

that purpose and impose a comparable level of burden to the relevantly similar historical

analogues Defendants submitted.

II.    Background

       A.     Parties to the Lawsuit

       Plaintiff NAGR is a nonprofit organization that “seeks to defend the right of all law-

abiding individuals to keep and bear arms.” (Third Amended Complaint [Doc. # 69] ¶ 10).

Plaintiff Toni Flanigan is a Connecticut resident, a US citizen, and member of NAGR who “is

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affected by State’s prohibition of commonly possessed arms.” (Id. ¶ 9.) She claims “a

present intention of exercising her constitutionally protected right to acquire, keep and

bear commonly possessed arms, and specifically commonly possessed firearms and

magazines that fall with the definition of Banned Firearms and the Banned Magazines,

without being subjected to criminal prosecution,” and “is presently ready, willing, able and

eligible to acquire such arms and, but for her reasonable fear of criminal prosecution,

would do so.” (Id.) “Specifically, she would acquire and keep an AR-15 or similar rifle and

magazines that hold more than 10 rounds.” (Id.) Defendants are Ned Lamont, in his official

capacity as the Governor of the State of Connecticut; Patrick Griffin, in his official capacity

as the Chief State’s Attorney of the State of Connecticut; and Sharmese Walcott, in her

official capacity as the State's Attorney, Hartford Judicial District.

       B.      Challenged Statutes

       The challenged statutes regulate certain—but not all—types of both fully automatic

and semiautomatic firearms. Semiautomatic firearms fire “one round for each squeeze of

the trigger.” (Defs.’ Ex. A, Decl. of Detective Brindiana Warenda 1 [Doc. # 37-10] ¶ 20.) After

each discharge, another round is automatically loaded into the chamber for the next shot,

permitting a faster rate of fire than a manually operated gun. (Id. ¶ 20.) Automatic weapons

fire continuously as long as the trigger is held down. (Id. ¶ 21.) Selective fire weapons allow

the operator “to choose between semiautomatic and fully automatic.” (Id. ¶ 22.) Prior to the

passage of the Challenged Statutes, the Connecticut General Assembly passed an assault

weapon ban in 1993, which prohibited firearms “‘capable of fully automatic, semiautomatic

or burst fire at the option of the user,’ including 67 specifically enumerated semiautomatic

firearms.” New York State Rifle & Pistol Ass'n, Inc. v. Cuomo, 804 F.3d 242, 248 (2d Cir. 2015)

(quoting 1993 Conn. Pub. Acts 93–306, § 1(a)). In 2001, the Connecticut State Legislature

passed Public Act 01-130, which expanded the definition of assault weapon to include

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semiautomatic rifles, pistols, and shotguns with certain features, and to include particular

parts that could be used to convert a firearm into an assault weapon. (Warenda Decl. ¶ 12.)

In 2013, Public Act 13-3, which includes Conn. Gen. Stat. §§ 53-202a-c and 53-202w, was

passed as part of a “An Act Concerning Gun Violence Prevention and Children’s Safety” after

“the 2012 massacre at Sandy Hook Elementary School.” (Defs.’ Mem. at 4.)

       Conn. Gen. Stat. § 53-202a (a)(1) defines an “assault weapon” as:

       (A) (i) “Any selective-fire firearm capable of fully automatic, semiautomatic
           or burst fire at the option of the user or any of the following specified
           semiautomatic firearms: . . .”, [enumerating several dozen specific fully
           automatic, semiautomatic or burst fire selective-fire firearms];

          (ii) “A part or combination of parts designed or intended to convert a
          firearm into an assault weapon, as defined in subparagraph (A)(i) of this
          subdivision, or any combination of parts from which an assault weapon,
          as defined in subparagraph (A)(i) of this subdivision, may be rapidly
          assembled if those parts are in the possession or under the control of the
          same person”;

       (B) “Any of the following specified semiautomatic centerfire rifles, or copies
           or duplicates thereof with the capability of any such rifles, that were in
           production prior to or on April 4, 2013: . . .”, [enumerating a list of several
           dozen specified semiautomatic centerfire rifles, including the AK-47 and
           the AR-15];

       (C) “Any of the following specified semiautomatic pistols, or copies or
           duplicates thereof with the capability of any such pistols, that were in
           production prior to or on April 4, 2013: . . .” [enumerating a list of several
           dozen specified semiautomatic pistols];

       (D) “Any of the following semiautomatic shotguns, or copies or duplicates
           thereof with the capability of any such shotguns, that were in production
           prior to or on April 4, 2013: All IZHMASH Saiga 12 Shotguns;”

       (E) Any semiautomatic firearm regardless of whether such firearm is listed in
           subparagraphs (A) to (D), inclusive, of this subdivision, and regardless of
           the date such firearm was produced, that meets the following criteria: . .
           .”, [enumerating further criteria for centerfire rifles, semiautomatic,
           centerfire rifles, semiautomatic pistols, semiautomatic shotguns,
           shotguns with revolving cylinders, or semiautomatic firearms generally
           that would qualify them as “assault weapons”]; or
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       (F) “A part or combination of parts designed or intended to convert a firearm
           into an assault weapon, as defined in any provision of subparagraphs (B)
           to (E), inclusive, of this subdivision, or any combination of parts from
           which an assault weapon, as defined in any provision of subparagraphs
           (B) to (E), inclusive, of this subdivision, may be assembled if those parts
           are in the possession or under the control of the same person.” 2

       A centerfire rifle is designed for “centerfire cartridges which are more powerful

projectiles” because “they have a larger bullet, higher velocity, greater range, and more

‘foot pounds of energy’ or stopping power, than other cartridges such as rimfire or pistol

ammunition.” (Warenda Decl. ¶ 29.) One example of a centerfire cartridge is the .223 round

often used in an AR-15 type rifle. (Id.) A pistol is “any firearm that has a barrel under

twelve inches in length” under Connecticut General Statute § 29-27. (Id. ¶ 30.)

       Under Conn. Gen. Stat. § 53-202c (a), except as provided by statute, “any person

who, within this state, possesses an assault weapon, except as provided in sections 53-202a

to 53-202k, inclusive, and 53-202o, shall be guilty of a class D felony and shall be sentenced

to a term of imprisonment. . . .” Some of the carveouts include provisions allowing various

law enforcement agencies to possess assault weapons and a process by which persons who

lawfully possessed assault weapons prior to the enactment of Connecticut’s assault weapon

bans could apply for a certificate of possession to retain the firearm. Conn. Gen. Stat. § 53-

202c (b)-(c). As of January 30, 2023, 81,982 Certificates of Possession had been issued to

individuals lawfully permitted to possess assault weapons. (Warenda Decl. ¶ 18-19.)

       Under Conn. Gen. Stat. § 53-202w(b), except as provided by statute, “any person

who, within this state, distributes, imports into this state, keeps for sale, offers or exposes

for sale, or purchases a large capacity magazine shall be guilty of a class D felony.” Section

53-202w(a)(1) defines a “large capacity magazine” as “any firearm magazine, belt, drum,

feed strip or similar device that has the capacity of, or can be readily restored or converted

to accept, more than ten rounds of ammunition, but does not include: (A) A feeding device


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that has been permanently altered so that it cannot accommodate more than ten rounds of

ammunition, (B) a .22 caliber tube ammunition feeding device, (C) a tubular magazine that

is contained in a lever-action firearm, or (D) a magazine that is permanently inoperable.”

       C.     Assault Weapons

              1.     Firearms

       The AR-15 originated in response to the U.S. military’s request for an improved

infantry weapon in the 1950s and was initially manufactured as a selective-fire machine

gun by ArmaLite Corporation. (Warenda Decl. ¶ 24.) The ArmaLite AR-15, which was the

predecessor of the modern AR-15, went into mass production in June 1959; it was adopted

as the M-16 machine gun during the Vietnam War. (Id.) Colt Manufacturing Company

obtained the trademark for the AR-15 semiautomatic version, without the fully automatic

fire option, and began selling to the civilian market in the early 1960s. (Id. ¶ 25.) The AK-47

was created by Mikhail Kalashnikov with the intent that it would replace rifles and

submachine guns carried by Soviet forces at the end of World War II, was officially adopted

by the Soviet Army in 1949, and has been used by countries “throughout the world.” (Id. ¶

26.)

       Based on her firearms expertise, Warenda’s opinion is that “the majority of the

firearms specifically named in the statutes are semiautomatic versions of the original

selective-fire AR-15/M-16, the AK-47, or variants of these weapon platforms in an

assortment of calibers.” (Id. ¶ 23.) Specifically, of the 49 assault rifles listed by name in

Conn. Gen. Stat. § 53-202a, nineteen are AK-47 variants, thirteen are AR-15 or M-16

variants, and three are HK 91 or FN type variants. (Id. ¶ 27.) The remaining rifles are

“unique” rather than falling into a “type”. (Id. ¶ 28.) The rifles are all semiautomatic

centerfire rifles except for the Remington Tactical 7615, a “pump action” rifle using

detachable magazines that “can accept more than ten rounds of ammunition.” (Id. ¶ 29, 32.)

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The Second Circuit declared the ban on the Remington Tactical 7615 was unconstitutional

in Cuomo, 804 F.3d 242, because it was a non-automatic or semi-automatic firearm. Conn.

Gen. Stat. § 53-202a also bans certain semiautomatic pistols; six are AK-47 variants and

seven are M-16/AR-15 variants, with the remaining nine not falling into “a type.” (Warenda

Decl. ¶ 30.) The one shotgun specifically listed in Public Act 13-3 is the IZHMASH SAIGA 12,

which is “based on an AK-47 platform.” (Id. ¶ 31.)

              2.      Firearm Parts and Accessories

       A magazine is a “container that holds ammunition for a firearm,” typically by

holding bullets and feeding the ammunition into the firearm, but does not contain a firing

mechanism. (Id. ¶¶ 39, 40.) A detachable magazine may be removed and replaced with

another fully loaded magazine; fixed magazines are typically reloaded by reloading bullets

into the magazine attached to the firearm. (Id. ¶ 39.) Ordinary ammunition magazines

“extend perpendicularly from the frame of the firearm and are fed with one round on top of

the other,” while tubular magazines are generally “fixed magazines that run horizontally

along the length of the barrel and are fed with cartridges end to end” and are typically only

for “lever action rifles, rimfire rifles and shotguns.” (Id. ¶ 41.) Large capacity magazines

have been manufactured for a variety of firearms, and most firearms that accept large

capacity magazines “can also function using a magazine that has a capacity of under ten

rounds.” (Id. ¶¶ 42, 43.)

       Other accessories to firearms banned by Conn. Gen. Stat. § 53-202a include

telescoping stocks, flash suppressors, and forward pistol grips. A telescoping stock, also

known as a collapsible stock, is “a stock that can retract into and shorten itself to make a

firearm more compact.” (Id. ¶ 15.) A flash suppressor is “a device attached to the muzzle of

a firearm that reduces its visible signature while firing.” (Id. ¶ 16.) A forward pistol grip,



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also known as a second pistol grip, is a “grip on the front of the firearm or simply a second

grip on a firearm.” (Id. ¶ 17.)

       D.      Procedural Background

       Plaintiffs filed suit in September 2022 under 42 U.S.C. § 1983 claiming violations of

their Second Amendment rights. An amended complaint was filed on September 13, 2022,

and a second amended complaint was filed on October 25, 2022; Plaintiffs filed their

motion for a preliminary injunction on November 3, 2022, and Defendants filed their

motion to dismiss the complaint on November 18, 2022. After new standing arguments

were raised in Defendants’ reply brief, Defendants’ motion to dismiss was denied without

prejudice and Plaintiffs were granted leave to file a third amended complaint to address the

arguments, which they filed on March 7, 2023. Defendants filed an answer, rather than

moving again to dismiss. The Court granted leave to file three amici briefs by Everytown for

Gun Safety [Doc. # 78], the Brady and March for Our Lives groups [Doc. # 80], and the

Giffords Law Center to Prevent Gun Violence [Doc. # 75].

III.   Legal Standard

       A.      Preliminary Injunctions

       To obtain a preliminary injunction against the Defendant, “the movant has to

demonstrate (1) irreparable harm absent injunctive relief, (2) a likelihood of success on the

merits, and (3) public interest weighing in favor of granting the injunction. The movant also

must show that the balance of equities tips in his or her favor.” Yang v. Kosinski, 960 F.3d

119, 127 (2d Cir. 2020). 3 When “the moving party seeks to stay governmental action taken

in the public interest pursuant to a statutory or regulatory scheme,” the injunction will only

be granted if both irreparable harm and a likelihood of success on the merits are shown.

Plaza Health Laboratories, Inc. v. Perales, 878 F.2d 577, 580 (2d Cir. 1989).



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       If the injunction is prohibitory in nature, seeking only to maintain the status quo, the

likelihood of success standard requires a demonstration of a “better than fifty percent”

probability of success. Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985),

disapproved on other grounds, O'Lone v. Estate of Shabazz, 482 U.S. 342, 349, n.2 (1987).

The status quo is measured as “the last actual, peaceable uncontested status which

preceded the pending controversy.” Mastrio v. Sebelius, 768 F.3d 116, 120 (2d Cir. 2014)

(per curiam). However, if the injunction seeks to “alter the status quo by commanding

some positive act,” Citigroup Global Markets, Inc. v. VCG Special Opportunities Master Fund

Ltd., 598 F.3d 30, 35, n.4 (2d Cir. 2010) then a preliminary injunction is “mandatory” in

nature and “the standard is [more] exacting: a district court may enter a mandatory

preliminary injunction against the government only if it determines that, in addition to

demonstrating irreparable harm, the moving party has shown a clear or substantial

likelihood of success on the merits.” Libertarian Party of Conn. v. Lamont, 977 F.3d 173,

176-77 (2d Cir. 2020). This heightened standard also applies if the requested injunction

“(1) would provide the plaintiff with all the relief that is sought and (2) could not be

undone by a judgment favorable to defendants on the merits at trial.” Mastrovincenzo v. City

of New York, 435 F.3d. 78, 90 (2d Cir. 2006).

       Defendants submit that this is a mandatory injunction, and that Plaintiffs must

“carry the burden of persuasion by a clear showing for each factor,” but submit nothing

demonstrating that positive action by them would be required. Bergamaschi v. Cuomo, No.

20 CIV. 2817 (CM), 2020 WL 1910754, at *6 (S.D.N.Y. Apr. 20, 2020) (citations omitted).

Plaintiffs maintain that they need show only a likelihood of success on the merits, which

they characterize as a “probable” success on the merits. District courts in this circuit have

split on whether injunctions enjoining enforcement of gun regulations are mandatory or

prohibitive. Compare Christian v. Nigrelli, No. 22-CV-695 (JLS), 2022 WL 17100631, at *5

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(W.D.N.Y. Nov. 22, 2022) (currently on appeal) (finding that injunction enjoining

enforcement of a regulation prohibiting firearms on private property without permission

was prohibitory because it would “restore the status that existed before implementation of

the private property exclusion”) with Frey v. Nigrelli, No. 21 CV 05334 (NSR), 2023 WL

2473375, at *1, (S.D.N.Y. Mar. 13, 2023) (currently on appeal) (injunction enjoining

enforcement of several New York City gun laws would require “altering, rather than

maintaining, the status quo.”). However, Mastrovincenzo v. City of New York, 435 F.3d. 78,

90 (2d Cir. 2006) held that an injunction which “enjoined” the defendants “from enforcing”

a city code provision “clearly prohibits, rather than compels, government action by

enjoining the future enforcement of § 20–453 against plaintiffs” and that it “clearly” did not

command defendants “to perform any specific tasks.” The language of the requested

injunction here is similarly prohibitory, and nearly indistinguishable from Mastrovincenzo;

the status quo that the injunction of the statute would return the state to would be the

status quo pre-1993, before semiautomatic and automatic firearms were subject to the

1993, 2001, and 2013 restrictions enacted through the statutory sections now being

challenged. Thus, the lower standard for likelihood of success on the merits applies.

       B.     Facial vs. As-Applied Challenge

       Although Plaintiff Flanigan submits that she would seek to own an LCM and AR-15-

type firearm, Plaintiffs nevertheless seek an injunction that will enjoin enforcement of all

provisions of each of the statutes, including provisions that apply to non-AR-15-type

firearms; as such, this challenge is a facial one. The Supreme Court has held that “[a] facial

challenge to a legislative Act is . . . the most difficult challenge to mount successfully, since

the challenger must establish that no set of circumstances exists under which the Act would

be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). Because “[t]he fact that [a

statute] might operate unconstitutionally under some conceivable set of circumstances is

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insufficient to render it wholly invalid,” litigants bringing facial challenges must meet a

“heavy burden.” Id.

       Defendant views the distinction between facial and as-applied challenges as

important because “the challenged statutes restrict ownership and possession of a range of

weapons and features,” and that Plaintiffs must show “that the statute is [un]constitutional

in all aspects, which means here that every weapon and feature merits Second Amendment

protection and that the challenged restrictions fail to meet the Bruen test,” to succeed.

(Defs.’ Opp’n Mem. [Doc. # 37] at 10.) Defendants point to the fact that some of the

restricted weapons in Conn. Gen. Stat. § 53-202(a) are grenade launchers, Uzis, and certain

shotguns, all of which have been found dangerous or unusual by other courts and which do

not fall within the Second Amendment’s protection. (Id. at 11.) Because Plaintiffs do not

contend that these particular firearms are constitutionally protected, Defendants aver that

Plaintiffs fail to carry their “unconstitutional in all” applications burden required for a facial

challenge. (Id.)

       Plaintiffs claim that Bruen created an exception to the Second Circuit’s “no set of

circumstances” standard. (Pls.’ Reply [Doc. # 64] at 44.) In Plaintiffs’ view, “if the Second

Amendment covers the Plaintiffs’ conduct, and the government cannot ‘demonstrate that

the regulation is consistent with the Nation’s historical tradition of firearm regulation,’ then

the regulation is invalid” because Bruen’s standard would be meaningless if a statute

“inconsistent with history and tradition” could be “saved by the one possible application

that may be constitutional.” (Id. at 44-45.) Bruen aside, Plaintiffs also argue that Planned

Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833 (1992), abrogated on other grounds,

Dobbs v. Jackson Women's Health Organization, 142 S. Ct. 2228, (2022), and Whole Woman’s

Health v. Hellerstedt, 579 U.S. 582 (2016), abrogated on other grounds in Dobbs, established

a “large fraction” exception to the general “no set of circumstances” rule by allowing a facial

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challenge to a statute when the statute would unconstitutionally impact a “large fraction” of

the cases to which it would be applied. (Id.) 4

       District courts have taken a variety of approaches to resolving the issue of facial

challenges; while one court held that “[o]utside of the First Amendment context, a facial

challenge generally must show that ‘no set of circumstances exists under which the [law]

would be valid,’” Copeland v. Vance, 230 F. Supp. 3d 232, 248 (S.D.N.Y. 2017), another court

used the less demanding “plainly legitimate sweep” portion of the facial challenge test for a

Second Amendment claim. See Christian, 2022 WL 17100631, at *11. Yet another court

found that, as Plaintiff maintains, Bruen essentially created a binary in which either the

regulation itself is or is not inconsistent with the nation’s tradition of firearm regulation,

and so necessarily requires permitting facial challenges that invalidate statutes as

unconstitutional even if there might theoretically be certain constitutional applications of

them. See Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL 16744700, at *47 (N.D.N.Y.

Nov. 7, 2022), reconsideration denied sub nom. Antonyuk v. Nigrelli, No. 122CV0986GTSCFH,

2022 WL 19001454 (N.D.N.Y. Dec. 13, 2022).

       Nothing in Bruen suggests that plaintiffs now may challenge a statute implicating

Second Amendment rights without being held to the higher facial challenge standard, and

the Second Circuit’s most recent holding on the issue of the standard for facial challenges in

Cmty. Hous. Improvement Program v. City of New York, 59 F.4th 540, 548 (2d Cir. 2023)

(petition for certiorari filed) settles the question in this Circuit. There, the Second Circuit

rejected arguments by a group of landlords challenging a statute under the 14th

Amendment that the stricter Salerno standard no longer applied, holding instead that while

“a different, more challenge-friendly standard has developed in the context of statutes

affecting First Amendment rights,” “Salerno provides the prevailing standard for facial

challenges to statutes outside the context of the First Amendment.” Id. at 549. However,

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Plaintiffs fail to meet their burden under either standard because they cannot show even

that a “large fraction” of the regulated firearms and accoutrements are unconstitutionally

restricted.

       C.     Second Amendment Jurisprudence

       Under the Second Amendment, “[a] well-regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be

infringed.” Both the Second Circuit and the Supreme Court have issued cases over the last

two decades interpreting that right that are critical to the Court’s analysis, beginning with

District of Columbia v. Heller, 554 U.S. 570 (2008).

              1.      District of Columbia v. Heller

       Until Heller, the scope of the Second Amendment was largely unexplored territory,

last addressed by the Supreme Court in United States v. Miller, 307 U.S. 174, 179 (1939). As

Heller noted, the matter went “judicially unresolved” for so long because “for most of our

history,” the question of whether the Second Amendment could invalidate firearms

regulations “did not present itself.” Heller, 552 U.S. at 625-26. When the issue of the Second

Amendment’s protections came before the Supreme Court in Heller, the litigants posed two

questions: whether “the Second Amendment protects an individual right to possess

firearms,” and whether a “total ban on handguns” violated the Second Amendment. Id. at

576.

                      a)     Scope of the Right

       Given the “very different interpretations” by the parties of the right conferred by the

Second Amendment, the Heller court embarked on a comprehensive analysis of the Second

Amendment’s meaning, beginning with its textual analysis of the prefatory and operative

clauses. See id. at 577-79. Heller divided the operative clause into two parts: the holder

(“the people”) and the substance (“to keep and bear arms.”) Id. at 579. When interpreting

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the latter, Heller relied on dictionaries from the Founding era defining “arms” as

“[w]eapons of offence, or armour of defence,” or as “any thing that a man wears for his

defence, or takes into his hands, or useth in wrath to cast at or strike another.” Id. at 581.

Although it adopted these definitions, Heller cautioned that the scope of the right is not

limited to only the embodiments of that definition that might have existed in the 1700s:

“[j]ust as the First Amendment protects modern forms of communications, and the Fourth

Amendment applies to modern forms of search, the Second Amendment extends, prima

facie, to all instruments that constitute bearable arms, even those that were not in

existence at the time of the founding.” Id. at 582.

       After reviewing additional Founding era sources and documents to determine both

the textual definition of and the contextual use of the phrase “keep” and “bear” arms, the

Supreme Court concluded that the Second Amendment guarantees “the individual right to

possess and carry weapons in case of confrontation,” as “confirmed by the historical

background of the Second Amendment.” Id. at 592; see also 601-03 (discussing state

constitutions codifying Second Amendment analogues that secured “an individual right to

bear arms for defensive purposes”). This history demonstrated that the Second

Amendment did not create a right, but codified a pre-existing right to “protect[] against

both public and private violence,” including “to keep arms for their own defense.” Id. at

593-94. While the fear that the citizens’ militias would be disarmed by the government

might have been the primary reason for the Second Amendment’s codification, as

evidenced by the prefatory clause, Heller stressed that self-defense is the “central

component of the right.” Id. at 599 (emphasis in original). A review of relevant history and

case law, Heller found, confirmed that its interpretation of the Second Amendment was

consistent with public understanding and interpretation of the right from “immediately

after its ratification through the end of the 19th century.” Id. at 605-06, 606-19.

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       Constitutional rights, Heller explained, are “enshrined with the scope they were

understood to have when the people adopted them,” including the historical limitations

that were part of that understanding, id. at 634. The Second Amendment is subject to those

same limitations and has never been understood as conferring the right “to keep and carry

any weapon whatsoever in any manner whatsoever and for whatever purpose.” Id. at 626.

One of the most explicitly recognized limitations came from Miller, which held that “’the

type of weapon at issue,” a short-barreled shotgun, was “not eligible for Second

Amendment protection” id. at 622 (emphasis in the original), because it did not “have some

reasonable relationship to the preservation or efficiency of a well-regulated militia.” Id.

(quoting Miller, 307 U.S. at 178.) Heller characterized Miller as standing for the proposition

that the Second Amendment “extends only to certain types of weapons,” id. at 622-23;

weapons “used in defense of person and home” are constitutionally protected, but

“weapons not typically possessed by law-abiding citizens for lawful purposes, such as

short-barred shotguns,” are not. Id. at 624-25. The historical tradition of “prohibiting the

carrying of ‘dangerous and unusual weapons’” as discussed in 18th and 19th century

treatises, Heller held, supported Miller’s restriction on the scope of the Second Amendment,

which Heller described as an “important limitation on the right.” Id. at 627. 5 Despite the fact

that developments in warfare like the invention of modern-day bombers and tanks, may

render militias without “highly unusual” and “sophisticated arms” less than effective

against a standing army, Heller nevertheless held that “weapons that are most useful in

military service—M-16 rifles and the like—may be banned.” Id. at 627-28.

                      b)     Constitutionality of the Handgun Prohibition

       Once the scope of the right had been determined, Heller reached the challenged

statute at issue, and held that the “prohibition of an entire class of ‘arms’” such as handguns

that were “overwhelmingly chosen by American society” for the lawful purpose of self-

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defense” and were “the most preferred firearm in the nation to ‘keep’ and use for

protection of one’s home and family,” where “the need . . . is most acute,” would “fail

constitutional muster” under “any of the standards of scrutiny.” Id. at 628-29. Heller

explained that it was not “permissible to ban the possession of handguns so long as the

possession of other firearms (i.e., long guns) is allowed” because the handgun was the

“quintessential self-defense weapon,” “possessing characteristics making it well-suited for

self-defense.” Id. at 629. “Whatever the reason,” Heller found, “handguns are the most

popular weapon chosen by Americans for self-defense in the home, and a complete

prohibition of their use is invalid.” Id. at 629.

       In rejecting the idea that a complete ban on a category of commonly used firearms

was constitutional, Heller cited to other cases 6 that had reached similar conclusions

regarding laws that impermissibly burdened the right to self-defense. Heller also

distinguished laws that the government had argued were comparable, like gunpowder

storage laws and a 1783 law that permitted seizure of any loaded firearm found in a house,

stable, shop, or other similar building. Id. at 631-32. Heller found that the purpose of these

laws was to limit danger to firefighters, not to prevent loading a gun or accessing

gunpowder for self-defense, and neither did the laws “remotely burden the right of self-

defense as much as an absolute ban on handguns.” Id. Similarly, laws punishing the

discharge of a gun at certain times or in certain areas were meant to prevent “indiscreet”

firing of guns, not their use for self-defense, and came with only minor fines or penalties as

opposed to a significant prison sentence. Id. at 632-33. Because none of these regulations

“c[a]me close” to the level of restriction imposed by the challenged statute, Heller

concluded that there was no historical evidence contradicting its holding that such a

prohibition was constitutionally impermissible.

               2.      McDonald v. City of Chicago, Ill.

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          Two years later, the Supreme Court in McDonald v. City of Chicago, Ill., 561 U.S. 742,

749 (2010) held that the Second Amendment right is fully applicable to the states because

it was incorporated through the Fourteenth Amendment. Id. at 750. The Supreme Court

explained that the right to self-defense by bearing arms was “deeply rooted in this Nation’s

history and tradition,” dating back centuries, and was considered fundamental by those

who drafted and ratified the Bill of Rights. Id. at 767-69. McDonald reaffirmed, however, the

ability of the states to continue devising “solutions to social problems that suit local needs

and values,” including to limit firearm violence, so long as they were “reasonable” firearms

regulations that complied with the limits of the Second Amendment. Id. at 784-85. It further

reiterated language from Heller that there were “longstanding regulatory measures” that

remained valid, and that “incorporation does not imperil every law regulating firearms.” Id.

at 786.

                 3.     New York State Rifle & Pistol Ass'n, Inc. v. Cuomo

          Like Heller, McDonald cast doubt on the idea of interest-balancing as a method of

evaluating firearm regulations but offered no alternative method or test for determining

whether a regulation “infringed” on Second Amendment rights. As a result, circuit courts

differed as to what the exact scope of the Second Amendment right to bear arms was, and

how to evaluate regulations that applied to conduct within the scope of the Second

Amendment. See, e.g., Kachalsky v. County of Westchester, 701 F.3d 81, 101 (2d Cir. 2012). A

number of circuits eventually coalesced around a “two step” where courts asked (1)

whether the regulated activity fell inside or outside the scope of the right as originally

understood, and if it fell within that scope, (2) applied either strict or intermediate scrutiny

depending on how close the law came to the “core” of the Second Amendment right, and

how severe the burden was on that right. See id.



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       In 2015, the Second Circuit used this same two-step analysis to reject a challenge to

the same statutes at issue in this case, as well as analogous statutes passed in New York, in

Cuomo, 804 F.3d 242. The Second Circuit acknowledged that Heller established the Second

Amendment right as an individual one to possess and carry weapons for self-defense, at

least in the home, but found that it stopped “well short” of extending its rationale to other

firearms restrictions beyond handgun bans by endorsing “the historical tradition of

prohibiting the carrying of dangerous and unusual weapons,” id. at 253. However, the

Second Circuit lamented that “[n]either Heller nor McDonald [] delineated the precise scope

of the Second Amendment or the standards by which lower courts should assess the

constitutionality of firearm restrictions,” leaving unresolved which tier of scrutiny might

apply. Id. at 254.

       In the absence of “more detailed guidance” from the Supreme Court, the Second

Circuit followed the two-step test adopted in Kachalsky, asking at the first step “whether

the challenged legislation impinges on conduct protected by the Second Amendment.” Id. at

254. The Second Circuit explicitly divided the step one inquiry into two questions: whether

the weapons were in “common use”, and whether they were “typically possessed by law-

abiding citizens for lawful purposes.” Id. at 254-55. Cuomo defined “common use” as being

an inquiry into whether the weapons were “commonly owned” by “law-abiding

Americans,” and considered arguments from both sides about what the statistics showed

regarding the ownership of the challenged firearms. Id. at 255. Without identifying a

specific metric that would satisfy the threshold for common use, Cuomo found that

“Americans own millions of the firearms that the challenged legislation prohibits,” as well

as LCMs, meaning that they were “in common use” as that term was used in Heller. Id. While

Cuomo viewed the “common use” requirement as meaning “the weapons must actually be

used lawfully,” it determined that the court “need not consider” any evidence related to

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lawful use because the mere possession of assault weapons was the proscribed conduct

under the statute. Id. at n. 52.

       While the Second Circuit viewed common use as an “objective and largely statistical

inquiry,” it found that typical possession by law-abiding citizens for a lawful purpose

required looking into “both broad patterns of use and the subjective motives of gun

owners.” Id. at 256. Cuomo rejected the idea that use in crime, as opposed to lawful

purposes, could deprive the firearms of constitutional protection because the handguns in

Heller were also often used in violent crime, and the “evidence of disproportionate criminal

use did not prevent the Supreme Court from holding that handguns merited constitutional

protection.” Id. Instead of considering only a weapon’s association with crime, the Second

Circuit also decided it must consider “more broadly whether the weapon is ‘dangerous and

unusual’ in the hands of law-abiding civilians,” distinguishing “weapons that are most

useful in military service” from civilian weapons. Id. Cuomo candidly acknowledged that the

analysis is “difficult to manage in practice” because the fact that an AR-15 is “the civilian

version of the military’s M-16 rifle” could either mean it should be treated as equally

dangerous and unusual as an M-16, or that its role as the civilian alternative made it

constitutionally protected where the M-16 was not. Id. at 256-57.

       The Second Circuit concluded that “neither the Supreme Court's categories nor the

evidence in the record cleanly resolves the question of whether semiautomatic assault

weapons and large-capacity magazines are ‘typically possessed by law-abiding citizens for

lawful purposes.’” Id. Because there was a “dearth of evidence” that “law-abiding citizens

typically use these weapons for self-defense,” id. at 263, the Second Circuit decided in lieu

of ruling on the typical possession question that “[i]n the absence of clearer guidance from

the Supreme Court or stronger evidence in the record,” it would “proceed on the

assumption that these laws ban weapons protected by the Second Amendment” because

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“the statutes at issue nonetheless largely pass constitutional muster” under step two of the

analysis—tiers of scrutiny. Id. at 260.

       Cuomo noted that the “instant bans are dissimilar from D.C.'s unconstitutional

prohibition of ‘an entire class of ‘arms' that is overwhelmingly chosen by American society

for [the] lawful purpose’ of self-defense” because “New York and Connecticut ban only a

limited subset of semiautomatic firearms, which contain one or more enumerated military-

style features,” and “[a]s Heller makes plain, the fact that the statutes at issue do not ban ‘an

entire class of ‘arms'” makes the restrictions substantially less burdensome.” Id. at 260.

Based on this distinction and because “numerous ‘alternatives remain for law-abiding

citizens to acquire a firearm for self-defense’”, Cuomo found that the bans did not

“effectively disarm individuals or substantially affect their ability to defend themselves”

and so imposed a burden that was “real” but not “severe.” Id. In evaluating the purpose of

the statutes, Cuomo also held that the legislation was “tailored” to address “particularly

hazardous weapons” and the dangers that many of the “military-style features” posed. Id. at

262. The legislation, the Second Circuit found, was “specifically targeted to prevent mass

shootings like that in Newtown,” and to reduce “circulation of assault weapons among

criminals.” Id.

                  4.   New York State Rifle & Pistol Association, Inc. v. Bruen

       In Bruen, the Supreme Court invalidated the majority of circuit court decisions

addressing the Second Amendment post-Heller by definitively rejecting the tiers-of-

scrutiny “two-step” approach to Second Amendment claims and introducing a new test:

           When the Second Amendment's plain text covers an individual's conduct,
           the Constitution presumptively protects that conduct. The government
           must then justify its regulation by demonstrating that it is consistent with
           the Nation's historical tradition of firearm regulation. Only then may a
           court conclude that the individual's conduct falls outside the Second
           Amendment's unqualified command.


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142 S. Ct. at 2129-30. While “[s]tep one” of the previous “two-step” framework was

“broadly consistent with Heller, which demands a test rooted in the Second Amendment's

text, as informed by history,” the Supreme Court held that the second step was “one step

too many,” and that “[i]nstead, the government must affirmatively prove that its firearms

regulation is part of the historical tradition that delimits the outer bounds of the right to

keep and bear arms.” Id. at 2127. Heller’s methodological approach, Bruen explained, began

with textual analysis and a review of the historical background of the Second Amendment,

followed by a review of the public understanding of the right based on post-enactment

sources, to confirm whether the right was an individual one to self-defense and to “demark

the limits on the exercise of that right” such as the “historical tradition” of prohibiting

dangerous and unusual weapons, and protecting only weapons that were “in common use.”

Id. at 2128. This methodology, centered on “constitutional text and history,” id., did not

allow for balancing the interest protected by the statute with other government interests

under traditional means-end scrutiny—instead, courts should respect the fact that the

Second Amendment “is the very product of an interest balancing by the people” and look to

the balance “struck by the traditions of the American people” in evaluating the legitimacy of

any regulation of firearms. Id. at 2130-31.

       New York’s licensing scheme prohibited the possession of any firearm without a

license and required applicants to show a “special need for self-protection distinguishable

from the general community” in order to obtain a general carry license. Id. at 2123. Neither

side contested that petitioners had demonstrated that they were part of “the people”

protected by the Second Amendment, and that handguns were “‘in common use’ today for

self-defense,” and so the only preliminary question under the first question of Bruen’s

newly enunciated test was “whether the “plain text of the Second Amendment” protected

“carrying handguns publicly for self-defense.” Id. at 2134. Bruen had “little difficulty

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concluding that it does” because the “textual elements” of the Second Amendment

guarantees “the individual right to possess and carry weapons in case of confrontation,”

which “naturally encompasses public carry” based on the definition of “keep” and “bear.” Id.

       Because petitioners had met their burden, Bruen next turned to determining

whether the regulation had a proper historical analogue such that it was consistent with

the Nation’s traditions of firearm regulation. Bruen embarked once more on a journey

through history, reviewing sources from “the late 1200s to the early 1900s” submitted by

the respondents and concluding that “apart from a handful of late-19th-century

jurisdictions, the historical record compiled by respondents does not demonstrate a

tradition of broadly prohibiting the public carry of commonly used firearms for self-

defense.” Id. at 2135-2136, 2138. Bruen distinguished a number of pre-19th century

regulations directed to the carry of firearms as inapposite, see, e.g., id. at 2141-45

(discussing how the Statute of Northampton and successor statutes’ prohibition on riding

“armed by night nor by day” only prohibited bearing arms in a way that spread “fear” or

“terror” rather than representing a broad prohibition on all forms of public carry) or

outliers, see, e.g., id. at 2143-44 (finding that a regulation preventing a farmer or plantation

owner who settled new territory from carrying any kind of pistol, and more broadly

prohibited the concealed carry of pocket pistols or unusual or unlawful weapons, was not

meaningful because it only appeared to have been in effect for 8 years). Regarding the

latter, Bruen held that even if there had been a statute prohibiting handguns as “dangerous

and unusual” during the colonial period, handguns are “indisputably in ‘common use’ for

self-defense today,” and so could provide no justification for restricting “the public carry of

weapons that are unquestionably in common use today.” Id. at 2143.

       Bruen found after a review of the historical record that the government could

regulate “the intent for which one could carry arms,” (such as prohibiting carrying of a

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firearm in a way that would cause fear and terror,) “the manner by which one carried

arms” (such as prohibiting either open or concealed carry so long as the other form of carry

remained open) or the “exceptional circumstances under which one could not carry arms”

(such as in the case of dangerous or unusual weapons), but it could not broadly prohibit the

public carry of commonly used firearms for personal defense by requiring individuals to

demonstrate a need for a handgun beyond the generalized desire to possess it for self-

defense. Id. at 2156. Thus, Bruen held that New York’s licensing scheme violated the Second

and Fourteenth Amendments. Id.

IV.      Discussion

         A.    Analytical Framework for Second Amendment Challenges

         Ruling on the merits of the parties’ arguments first requires determining what

framework for analyzing Second Amendment claims the Supreme Court has left lower

courts with post-Bruen, including what the various terms of art used by the Supreme Court

mean for purposes of their application, and whose burden it is to produce evidence on each

point.

         At oral argument, both sides agreed that because there is a degree of overlap

between the analyses for ‘common use,’ ‘typical possession,’ and ‘dangerous and unusual’

in the context of the Second Amendment, the structural organization of how the Court

addresses each phrase is less important than what the core of the inquiry is. However, the

parties’ positions diverge sharply on what that core might be. Plaintiffs’ position is that

whether a weapon is “common use,” whether the firearms are “typically possessed by law-

abiding citizens for lawful purposes,” and whether the firearms are “dangerous or unusual

weapons” are the “flip side of one another.” (June 5, 2023 Oral Argument Tr. [Doc. # 83] at

39). In their view, common use is an inquiry focused on “the choices commonly made by

contemporary law-abiding citizens” to purchase and possess certain weapons and is meant

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only to distinguish commonly used civilian weapons from “specialized weapons employed

by a standing army.” (Pls.’ Mem. at 10.) Broadly, Defendants view the three different

phrases as ultimately getting at whether the firearms at issue are suitable and used for self-

defense, or for some other purpose—lawful or unlawful—unprotected by the Second

Amendment. Defendants maintain that after Bruen, Plaintiffs must show not only that the

weapons and accoutrements are commonly owned, but that they are commonly possessed

and used for self-defense based on Bruen’s repeated use of the phrase “‘common use’ for

self-defense.” (Defs.’ Mem. at 24.) Amici Brady, March for Our Lives, and Giffords Law

Center join that position, highlighting that both Heller and Bruen heavily emphasize that

“individual self-defense” is the central component of the Second Amendment, not mere

possession of firearms for lawful purposes generally. (Brief for Brady as Amicus Curie,

supporting Defendants (“Brady Amicus”) [Doc. # 80] at 4-5); (Brief for Giffords Law Center

as Amicus Curie, supporting Defendants (“Giffords Amicus”) [Doc. # 75] at 8, 10.) 7

Defendants interpret the phrase “typical possession by law-abiding citizens for lawful

purposes” to require the Court to determine what the weapon is “useful” for and how it is

“used” in practice. (Defs.’ Mem. at 20.)

       The first step requires deciding whether Cuomo’s holding on these two questions is

still binding post-Bruen. Cuomo interpreted the “common use” analysis as a purely

statistical inquiry into ownership, and the “typical possession” analysis as a more

qualitative examination “into both broad patterns of use and the subjective motives of gun

owners.” Cuomo, 804 F.3d at 256. Cuomo held that because “Americans own millions of the

firearms that the challenged legislation prohibits,” they should be considered “in common

use” as that term was used in Heller and assumed without deciding that the plaintiffs would

succeed on the issue of typical possession. Cuomo, 804 F.3d at 255-57. If Cuomo’s holding

on common use remains good law, then the Court’s task is merely to apply it. However,

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because Cuomo preceded Bruen, the Court must determine to what extent Cuomo has been

abrogated; while the parties agree that the “two-step” and the means-end scrutiny analyses

used in Cuomo are no longer applicable law8, their positions diverge on whether discrete

portions of Cuomo’s “step one” analysis on common use and typical possession remain

binding.

       Plaintiffs’ arguments as to Cuomo’s applicability are built upon ever-shifting sands,

making their precise position difficult to pin down. Plaintiffs devote an entire section of

their opening brief, titled “[t]he Second Circuit’s decision in Cuomo is no longer good law,”

(capitalization omitted), to arguing that both the “mode of review” and “holding” were

overturned by Bruen, (Pls.’ Mem. at 11-13). This position is consistent with their argument

that common use and typical possession are part of the same overlapping inquiry, and that

no inquiry into whether the weapons are used for self-defense is required. However, it is

fundamentally inconsistent with their assertion at oral argument that Cuomo is binding on

this Court to the extent it held that assault weapons are commonly used, because the

method of analysis with which Cuomo reached that conclusion divided common use and

typical possession into two questions. (See Oral Argument Tr. at 11.) Plaintiffs cannot have

it both ways—either Cuomo’s common use analysis survived Bruen and is thus binding, or

common use and typical possession are terms meant to be interchangeably used as part of

one analysis, in which case that portion of Cuomo’s holding giving the terms distinct

meanings is inconsistent with Bruen and it is no longer good law.

       The Court views the latter option interpretation as the better one. Cuomo openly

acknowledged that Heller provided lower courts with little guidance on what phrases like

“common use” or “typically possessed by law-abiding citizens for lawful purposes” meant

and how they should be applied; while Cuomo strove to faithfully apply the analysis as

Heller appeared to set it out, continued analysis of the question in other circuits revealed

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that defining the “common use” factor articulated in Cuomo leads to a problem of

application:

           [R]elying on how common a weapon is at the time of litigation would be
           circular to boot. Machine guns aren't commonly owned for lawful
           purposes today because they are illegal; semi-automatic weapons with
           large-capacity magazines are owned more commonly because, until
           recently (in some jurisdictions), they have been legal. Yet it would be
           absurd to say that the reason why a particular weapon can be banned is
           that there is a statute banning it, so that it isn't commonly owned. A law's
           existence can't be the source of its own constitutional validity.

Friedman v. City of Highland Park, Illinois, 784 F.3d 406, 409 (7th Cir. 2015).

       Bruen, perhaps recognizing the shortcomings of a purely statistical inquiry into

possession, avoided that pitfall by framing the relevant inquiry as being whether the

weapons are “‘in common use’ today for self-defense.” Bruen, 142 S. Ct. at 2134 (emphasis

added); see also Heller, 554 U.S. at 594 (discussing the origins of the pre-existing right

codified by the Second Amendment as the “right of self-preservation” permitting a citizen

to “repel force by force” when “the intervention of society in his behalf, may be too late to

prevent an injury.”) While only a handful of district courts post-Bruen have had the

occasion to grapple with the question of what common use means, at least one has reached

the conclusion that Bruen requires that common use to be specifically for self-defense. See

Oregon Firearms Fed'n, Inc. v. Brown, No. 2:22-CV-01815-IM, 2022 WL 17454829, at *10 (D.

Or. Dec. 6, 2022), appeal dismissed, No. 22-36011, 2022 WL 18956023 (9th Cir. Dec. 12,

2022) (noting that the relevant inquiry was whether the weapons were in common use “for

lawful purposes like self-defense”) (quoting with emphasis Heller, 554 U.S. at 624). As such,

this Court reads Bruen to abrogate Cuomo to the extent it treated common use as a solely

statistical question.

       Plaintiffs next insist that because the Second Amendment guarantees an “individual

right to possess and carry weapons in case of confrontation,” that necessarily means

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firearms need not be commonly “used” for self-defense—only possessed. (Pls.’ Reply at 36)

(quoting with emphasis Bruen, 142 S. Ct. at 2134.) The reason for which the firearms are

possessed is certainly part of the analysis; however, Bruen recognized that the “limitation”

on “the sorts of weapons protected” by the Second Amendment to those in common use

stems from “the historical tradition of prohibiting the carrying” of dangerous and unusual

weapons, intrinsically linking the contours of constitutionally protected weapons to how

those weapons are used, rather than merely possessed. Heller, 554 U.S. at 627 (emphasis

added). Further, to adopt Plaintiffs’ proposal would mean allowing the analysis to be driven

by nebulous subjective intentions such that if enough individuals filled out a survey stating

that they owned high powered shotguns or niche sniper rifles for the purpose of self-

defense, that would satisfy the common use test regardless of how the weapons were

actually used, a result that the Supreme Court does not indicate in the slightest that it

intended.

       The Supreme Court’s holding in Miller that “the sorts of weapons protected” by the

Second Amendment are those that were “in common use at the time,” Miller, 307 U.S. at

179, was interpreted in Heller to mean that the weapons protected by the Second

Amendment were “the sorts of lawful weapons” that are typically “possessed at home,” and

not “dangerous and unusual” weapons. Heller, 554 U.S. at 627. Caetano v. Massachusetts,

577 U.S. 411, 411 (2016) explicitly rejected the idea that a firearm is dangerous and

unusual merely because it did not exist at the time of the Founding, and Bruen further

explained that the tradition of prohibiting “dangerous and unusual” weapons is not meant

to prohibit guns that might have been dangerous and unusual during the colonial period if

they are now “the quintessential self-defense weapon,” id. at 2143. All three precedents

point towards the inquiry into whether the Second Amendment protects a particular

firearm focusing not on whether it was commonly kept and used or would have been

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considered dangerous and unusual at the time of the Founding, but instead on both the

characteristics of the firearm and how the firearm is used by everyday citizens. See also id.

at 2128 (characterizing the limitation on dangerous and unusual weapons as part of the

“the historical understanding of the Amendment to demark the limits on the exercise of [the

Second Amendment] right.”) (emphasis added).

       The Court views the three phrases—common use, typical possession, and dangerous

and unusual—as meant to get at both the “how” and the “why” of how a particular weapon

is used. Thus, the Court proceeds by seeking to answer two questions: Do law-abiding

citizens buy the weapons at issue for the purpose of defending themselves, or because the

weapons’ characteristics are well-suited for some unlawful purpose? And once those

firearms are purchased, are they actually used for self-defense, or are they more often

utilized to achieve unlawful ends? In order to prevail, the answer to both must be that the

weapons are obtained and used for self-defense.

       Having settled that Bruen requires the Court to determine both how and why the

firearms are commonly used and possessed, whether it be for self-defense or for some

unlawful end that makes the weapons dangerous and unusual, the Court must now decide

whose burden it is to provide evidence as to each element. Plaintiffs argue “the Second

Amendment’s plain text covers Plaintiffs’ conduct in seeking to acquire bearable arms” and

that as such, Plaintiffs’ conduct “is presumptively protected by the Second Amendment”;

based on the language in Bruen stating that “the Second Amendment extends, prima facie,

to all instruments that constitute bearable arms,” Plaintiffs maintain that no more is

required from them. (Pls.’ Mem. at 4-5) (emphasis in original); (Pls.’ Reply at 5.)

       Defendants view Plaintiffs’ burden in both Heller and Bruen to require threshold

showings that (1) Plaintiffs are members of “the people”, (2) the regulated instrument is a

“bearable arm” under the Second Amendment, (3) the arms are not “dangerous or

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unusual,” (4) such arms are in “common use” for “lawful purposes like self-defense” and

that (5) the weapons are “typically owned by ‘law-abiding citizens for lawful purposes.”

(Defs.’ Mem. at 11-12.) They acknowledge that if Plaintiffs meet their burden, the burden to

justify their regulation by demonstrating that it is relevantly similar to historical analogues

in the nation’s history and tradition of firearm regulation lies with them. (Id.)

       Bruen’s mandate provides that if the Second Amendment’s plain text creates the

presumption, “then” the government must justify its regulation. Bruen, 142 S. Ct. at 2130

(emphasis added). Similarly, the section of Bruen in which the Supreme Court applied its

newly enunciated test considered whether handguns were arms that were “‘in common

use’ today for self-defense” and whether the “plain text” of the Second Amendment covered

the petitioner’s “proposed course of conduct” of carrying handguns publicly for “self-

defense” before shifting the burden to respondents to justify the regulation. Id. at 2134.

Thus, Bruen and Heller make clear that Plaintiffs have the burden of making the initial

showing that they are seeking to possess or carry firearms that are “‘in common use’ today

for self-defense” and are typically possessed by law-abiding citizens for that purpose. Id.

Heller may have discussed the common use test as part of the “historical tradition” of

prohibiting dangerous and unusual arms, rather than the “plain text” of the Second

Amendment, but Heller stressed that text and history are inextricably intertwined; the

constitutional right is defined by the text used to immortalize it, but Heller also teaches that

the text itself is defined by its original meaning, including the history and tradition behind

it. See Eugene Volokh, Implementing the Right to Keep and Bear Arms for Self–Defense: An

Analytical Framework and a Research Agenda, 56 UCLA L. Rev. 1443, 1459-51 (2009). In

short, Heller made extensive use of history to define both the scope of the right and the

types of regulations that, despite burdening the right, are constitutionally permissible; the



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requirement that the arms be in common use for self-defense falls into the former category,

not the latter.

       Plaintiffs strenuously contest this interpretation of Heller and Bruen, maintaining at

oral argument that neither case imposes any obligation on plaintiffs to offer empirical

evidence on how the arms are used and for what purpose. 9 In support, they rely on Bruen’s

acknowledgment that the First Amendment was “repeatedly compared” to the Second

Amendment in Heller for the purpose of analyzing whether the Supreme Court’s holding

was consistent with its treatment of other constitutional rights, and Bruen’s subsequent

comparison of the government’s burden in a Second Amendment challenge to First

Amendment cases where the government “bears the burden of proving the

constitutionality of its actions” when it restricts speech. Bruen, 142 S. Ct. at 2130. 10

However, the quoted language stands only for the well-established principle that when

Plaintiffs bring any constitutional challenge, whether in the context of the First or the

Second Amendment, the burden shifts to the government to justify its actions once the

plaintiffs have satisfied their own preliminary burden. See, e.g., Kennedy v. Bremerton School

District, 142 S. Ct. 2407, 2421 (2022) (explaining that “a plaintiff bears certain burdens to

demonstrate an infringement of his rights under the Free Exercise and Free Speech

Clauses,” and it was only “[i]f the plaintiff carries these burdens” that the burden “then

shifts to the defendant to [justify] … its actions[.]”) (emphasis added).

       Nothing in Bruen or any of the other cases that Plaintiffs cite grants them an

automatic presumption that their conduct is constitutionally protected which Defendants

are then required to affirmatively rebut. Plaintiffs must bear the burden of producing

evidence that the specific firearms they seek to use and possess are in common use for self-

defense, that the people possessing them are typically law-abiding citizens, and that the

purposes for which the firearms are typically possessed are lawful ones.

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       To the extent that Defendants seek to demonstrate that the regulated firearms are

instead dangerous and unusual weapons that are not protected by the Second Amendment,

Defendants must demonstrate either that the weapons are unusually dangerous, or that

they are not commonly used or possessed for self-defense. Plaintiffs protest, urging that

Defendants be required to show both that the assault weapons and LCMs are not

commonly used and that they are unusually dangerous, because the “dangerous and

unusual” test is a conjunctive one. However, it cannot be the case that a grenade launcher

or a flamethrower becomes constitutionally protected even if it becomes “common[ly]

used” for self-defense if it is also commonly used by military combatants. Further, all

firearms are “dangerous” in the sense that they are lethal, and so the Court reads the term

“unusual” as implying that there must be some level of lethality or capacity for injury

beyond societally accepted norms that makes it especially dangerous. Heller’s use of the

phrase “dangerous and unusual” does not state that it must be conjunctive, but instead

cites to several sources—including 4 Blackstone 148–49 (1769), State v. Lanier, 71 N.C.

288, 289 (1874), and Eng. v. State, 35 Tex. 473, 476 (1871)—all of which use the phrase

“dangerous or unusual weapons” (emphasis added). See also Volokh, supra, 1481 (noting

that some of the sources Heller cites to use the phrase “dangerous and unusual” while

others use “dangerous or unusual”.) At least one district court has made the same

observation and rejected a conjunctive interpretation. See United States v. Reyna, No. 3:21-

CR-41 RLM-MGG, 2022 WL 17714376, at *3 (N.D. Ind. Dec. 15, 2022) (finding that a

weapon can be banned if it is “uncommon or unusually dangerous”). 11

       Delaware State Sportsmen's Ass'n, Inc. v. Delaware Dep't of Safety & Homeland Sec.,

No. CV 22-951-RGA, 2023 WL 2655150, at *7 (D. Del. Mar. 27, 2023) held to the contrary,

finding that even if “dangerous or unusual” was more accurate as a matter of history, the

“great weight” of precedent required it to interpret the “dangerous and unusual” test to

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require the checking of “both boxes.” Id. For this “great weight” of authority, however, the

court cited to only two cases in support: Bruen, and Justice Alito’s concurrence in Caetano.

Id. However, the section of Bruen that Delaware State Sportsmen’s Ass’n cites to

immediately follows the phrase “dangerous and unusual” with a citation to the Blackstone

commentaries that uses “dangerous or unusual,” (emphasis added) and providing such

disproportionate weight to the concurrence in Caetano is unwarranted given that the

majority opinion in Caetano holds only that the lower court erred in finding that whether a

firearm is in common use or is dangerous and unusual turned on whether the firearm

existed during the time of the Founding and was useful in warfare. Id. at 412. Justice Alito’s

concurrence was joined only by Justice Thomas, and no citation to his concurrence appears

in the majority opinion in Bruen. The Court declines to follow the analysis of Delaware State

Sportsmen’s Ass’n.

       Thus, the Court finds that the purpose of the “dangerous and unusual” exception to

the Second Amendment is to determine whether the firearm’s character is such that it is

commonly used and typically possessed for self-defense, or instead for the purpose of

causing unlawful or excessive harm or fatalities. This interpretation of the test is also

consistent with the interplay between common use, typical possession, and dangerous and

unusual; a weapon must be both possessed for the purpose of and actually used for self-

defense in order to fall within the Second Amendment’s protection, meaning that if it is

either unusual for it to be possessed for self-defense or if it is used in a way that makes it

particularly dangerous, the weapon does not fall within the Second Amendment’s purview.

       Finally, Plaintiffs must also show that the conduct they seek to engage in is covered

by the right to “keep and bear arms,” which includes “the right to ‘wear, bear, or carry . . .

upon the person or in the clothing or in a pocket, for the purpose . . . of being armed and

ready for offensive or defensive action in a case of conflict with another person.’” Bruen,

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142 S. Ct. at 2134. To prevail on this question, Plaintiffs must show that carrying both a

firearm defined as an “assault weapon” and that possessing and using an LCM in

conjunction with an assault weapon are part of keeping and bearing arms. If Plaintiffs

establish each of those elements, the burden shifts to Defendants to justify their regulation

based on Bruen’s requirements for establishing relevant similarity to history and tradition.

       B.     Likelihood of Success on the Merits

              1.     Whether Plaintiffs’ Proposed Conduct Falls Within the Scope of

              the Second Amendment

       It is undisputed that Plaintiff Flanigan is a “law-abiding citizen of the United States,”

and that she has a valid permit to carry a pistol or revolver. (Third Amend. Compl. ¶¶ 4, 6.)

Defendants also do not contest that the firearms defined in Conn. Gen. Stat. § 53-202a(1)

are “arms,” or that Plaintiff Flanigan seeks to “keep and bear” those arms. The remaining

disputes are (1) whether LCMs and firearm accessories are bearable arms, (2) whether

assault weapons and LCMs are in common use for self-defense, and (3) whether they

instead are dangerous and unusual weapons not typically possessed by law-abiding

citizens for lawful purposes.

       Before delving into the specifics of each prong of the Bruen test, the Court notes that

many of Plaintiffs’ arguments as to the applicability of the Supreme Court’s precedent

employ the logic that if a broader category of something is constitutional, then the smaller

parts within it must also be constitutional. The problem with such a logical fallacy,

however, is that even if such generalizations are true of the whole, they cannot account for

circumstances that distinguish the individual parts. Plaintiffs attempt to apply this logic at

multiple turns, beginning with their interpretation of Staples v. United States, 511 U.S. 600,

610 (1994), in which the Supreme Court sought to determine whether guns generally

should be considered “highly dangerous devices that should alert their owners to the

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probability of regulation” such that owning an unregistered rifle with prohibited

characteristics could be classified as a public welfare offense. The Supreme Court explained

that while it might classify categories of guns including “the machineguns, sawed-off

shotguns, and artillery pieces” as having a “quasi-suspect character”, other guns

“traditionally have been widely accepted as lawful possessions” and so did not put gun

owners sufficiently on notice of the likelihood of regulation” simply based on the fact that

guns are dangerous possessions. Id. at 611-12.1 Thus, because Staples characterized guns

other than machine guns, sawed off-shotguns, and artillery pieces as generally lawful

possessions, and the assault weapons in the challenged statutes here are guns that do not

fall into one of those categories, Plaintiffs conclude that assault weapons must be generally

lawful possessions. However, this generalization ignores the broader context of Staples,

such as the fact that the phrase “traditionally have been widely accepted as lawful

possessions” was written decades before Bruen in 1994, without exhaustive historical

analysis, and to answer an entirely different question. Id. at 612.

       Plaintiffs employ similar logic in their arguments regarding whether use in crimes,

military characteristics, or use in mass shootings makes firearms dangerous and unusual,

infra, Sections IV(B)(1)(b)(2)-(4). However, nothing so clearly illustrates the flaw in

Plaintiffs’ logic as Bruen itself which acknowledged that traditionally, governments have

been permitted to “lawfully eliminate one kind of public carry—concealed carry—so long

as they left open the option to carry openly.” Bruen, 142 S. Ct. at 2150. In other words, the

government cannot ban individuals from carrying firearms, but it can ban different types of

carry so long as others are left available. The same principle applies here. The Challenged

Statutes do not ban handguns, or all semiautomatic rifles, or even all semiautomatic

handguns, but specific firearms of enumerated models and features. Because the statutes

are not complete bans of the “quintessential self-defense” weapon, Plaintiffs’ arguments

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directed to general common use of firearms broadly or of similar firearms made

throughout their briefing will not suffice, nor will evidence regarding common use of

firearms generally satisfy Plaintiffs’ burden to present evidence regarding the specific

assault weapons enumerated in the Challenged Statutes.

                     a)       Whether LCMs are Bearable Arms

       Bruen and Heller held that “arms” is not limited to only those arms existing in the

18th century, but that the “general definition” of arms fixed according to the historical

understanding of it in the 18th century “covers modern instruments that facilitate armed

self-defense.” Bruen, 142 S. Ct. at 2132. Defendants insist that the LCMs as defined in Conn.

Gen. Stat. § 53-202w(a)(1) do not fall within the historical definition of “arms” but are

instead analogous to “Founding-era cartridge boxes” that would have been considered

“accoutrements” beyond the scope of the Second Amendment’s definition. 12 (Defs.’ Mem. at

12-13.) Defendants rely on an expert declaration maintaining that because ammunition

was manually fed into weapons, and kept in cartridge boxes, “magazine” at the time of the

Founding would mean “a building designated for storing gunpowder,” and the use of

“magazine” as a “bullet storage container” only first appeared in the late 1880s. (Defs.’ Ex.

E, Decl. of Prof. Dennis E. Baron 13 [Doc. # 37-5] ¶ 24.) Linguistically, Baron argues that the

cartridge boxes that held the ammunition, which would have been the closest analogue to

modern day magazines, were described as “accoutrements” and were considered separate

from “arms” by those in the Founding Era. (Baron Decl. ¶¶ 24, 38, 78). 14 Thus, Defendants

contend that LCMs are not ammunition but an “ammunition feeding device” that would

qualify as an accoutrement.

       Plaintiffs maintain that magazines are covered by the Second Amendment because

they are essential to the operation of semi-automatic firearms, and thus are an integral part

of the firearm itself. (Pls.’ Reply at 19.) In Plaintiffs’ view, whether LCMs can be banned

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even if magazines generally are constitutionally protected is a separate question that

should be considered under the second step—the historical analysis—rather than the first.

If magazines generally are necessary to make semi-automatic rifles effective, then Plaintiffs

maintain that magazines generally constitute bearable arms “that are prima facia protected

by the Second Amendment.” (Id. at 25.)

       Plaintiffs rely on the declaration of Mark Passamaneck 15 to support their

proposition that without detachable magazines, “semi-automatic firearms are inoperable”

because the “feed angle, magazine spring pressure, and feed ramps” are all features that are

meant to ensure the magazine and firearm function together as intended, making the

magazine a “dynamic component” necessary to the firearm’s operation. (Pls.’ Reply Ex. 2,

Decl. of Mark Passamaneck [Doc. #64-2] ¶¶ 6-7). Without the magazine, there “is no ability

to fire a subsequent cartridge due to a subsequent pull of the trigger,” which is the

“defining characteristic of a semi-automatic weapon.” (Id. ¶ 7.) Even if it is “technically

possible” to fire a semi-automatic weapon without a magazine by “manually opening the

action each time the weapon is fired and manually inserting a single round into the

chamber,” to do so would make the firearm “unreliable, unsafe, and subject to being

damaged.” (Pls.’ Reply at 24.) 16

       Heller noted that the “18th-century meaning” of arms “is no different from the

meaning today,” and extends to “all instruments that constitute bearable arms, even those

that were not in existence at the time of the founding.” Heller, 554 U.S. at 581-82. Several

courts have found that components of firearms that are necessary to their operation, such

as ammunition, are covered by the Second Amendment. See Miller, 307 U.S. at 179-80

(citing seventeenth-century commentary recognizing that “[t]he possession of arms also

implied the possession of ammunition); Jackson v. City & Cnty. of San Francisco, 746 F.3d

953, 967 (9th Cir. 2014) (“[W]ithout bullets, the right to bear arms would be meaningless.”)

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Plaintiffs point to Passamaneck’s declaration as evidence that magazines are similarly

necessary to the operation of semiautomatic firearms and are thus entitled to Second

Amendment protection as a form of “arms,” and note that the Ninth Circuit has reached the

same conclusion. See Fyock v. Sunnyvale, 779 F.3d 991, 998 (9th Cir. 2015) (“to the extent

that certain firearms capable of use with a magazine . . . are commonly possessed by law-

abiding citizens for lawful purposes, our case law supports the conclusion that there must

also be some corollary, albeit not unfettered, right to possess the magazines necessary to

render those firearms operable”.)

       Defendants’ position is that even if there may be some right to magazines under the

Second Amendment, the question is whether an LCM specifically is integral to a firearm,

because a “firearm can be used for self-defense without a large capacity magazine—any

ammunition feeding device of lesser capacity will do the job.” (Defs.’ Mem. at 14.) They

point to cases like Ocean State Tactical, LLC v. State of Rhode Island, No. 22-CV-246 JJM-PAS,

2022 WL 17721175, at *12 (D.R.I. Dec. 14, 2022) 17 and Oregon Firearms, 2022 WL

17454829, at *9 in support, but these cases ignore that under Bruen, a “modern

instrument[] that facilitate[s] armed self-defense” is an arm entitled to the “prima facie”

protection of the Second Amendment. 142 S. Ct. at 2132.

       The fact that magazines as a general category constitute bearable arms does not

automatically render them protected by the Second Amendment; it means, however, that

whether an LCM specifically is necessary for self-defense is better addressed in the section

of the inquiry focused on the “common use” of LCMs. The Court concludes that LCMs are

“arms” for purposes of the Second Amendment as defined in Bruen and Heller. Plaintiffs

have met their burden in this part of the analysis.




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                     b)       Determining the Purpose for Which Assault Weapons and

                     LCMs are Commonly Purchased and how they are Commonly

                     Used

                              (1)   Ownership for and Use in Self-Defense

       Plaintiffs maintain that the metric used to determine common use should be the

percentage of “gun owners” who have an assault weapon and LCM, rather than a

percentage of the general population, (Pls.’ Reply at 37), as measured by manufacturing

data. They submit that semiautomatic rifles are in common use because the AR-15 is the

“best-selling rifle type in the United States” and semiautomatic rifles and semiautomatic

handguns are the two most popular types of firearms that are sold. (Pls.’ Reply at 29). 18

According to Plaintiffs, about thirty-five percent of all newly manufactured guns sold in

America as of 2018 were modern semiautomatic rifles 19, and 24.6 million Americans have

owned AR-15 or similar rifles. 20 As for LCMs, Plaintiffs’ expert reports that “[a]t least 150

million magazines with a capacity greater than ten rounds” are owned by law-abiding

American citizens, (Pls.’ Mot. Ex. 3, Decl. of James Curcuruto 21 [Doc. # 28-4] ¶ 7), and many

handguns, including the Glock 17 pistol (the most popular handgun in America, and legal to

own under the Challenged Statutes) come standard with magazines greater than 10

rounds. (Pls.’ Mem. at 21).

       Plaintiffs also rely on the 2021 National Firearms Survey, which reported that

recreational target shooting, home defense, and hunting were the primary reasons for

possessing a firearm among the survey participants; specifically, 61.9% of the survey

participants reported that they possessed an AR-style firearm for home defense. See 2021

National Firearms Survey at 33-34, 23. The same survey found that “[o]f the 25.3 million

Americans who have defended themselves with a firearm, 13.1% (3.3 million) have used a

rifle.” (Id.) For LCMs, the survey reported that out of 16,708 gun owners, 48% (which the

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survey estimates represents 39 million people when measuring 48% of gun owners as a

whole) “have owned magazines that hold over 10 rounds,” including the “most popular

semi-automatic rifles” which are “manufactured with standard magazines holding more

than ten rounds.” (Pls.’ Reply at 29.) 22 According to the survey, of those who owned LCMs,

41% reported owning them for the purpose of defense outside the home, and 62.4%

reported owning them for the purpose of home defense. See 2021 National Firearms

Survey at 23.

       Defendants argue that manufacturing or ownership statistics alone shed only

limited light on the question of how assault weapons and LCMs are used. See, e.g., Heller v.

District of Columbia (“Heller II”), 670 F.3d 1244, 1261 (D.C. Cir. 2011) (holding that

although 4.7 million LCMs had been imported into the United States between 1995 and

2000, statistics alone did not reveal whether they were “commonly used or are useful” for

self-defense.) Professor Donahue 23 reflects that “gun ownership is becoming more

concentrated in a declining portion of the population,” and that “ownership of private

firearms is highly concentrated among a small percentage of gun owners.” (Defs.’ Ex. B,

Decl. of Prof. John Donahue [Doc. # 37-2] ¶ 131.) The average “assault weapons owner” has

“three or more of the guns”, meaning that far more assault weapons are sold than there are

individual owners of such guns. (Id. ¶ 92); (see also Defs.’ Ex. C, Decl. of Prof. Louis

Klarevas 24 [Doc. # 37-3] ¶ 27); (Defs.’ Mem. at 24.) 25 Donahue also reports that “the vast

majority of the time that an individual in the United States is confronted by violent crime,

they do not use a gun for self-defense,” and that between 2007-2011, 99.2 percent of

victims of violent crimes did not defend with a gun. (Id. ¶ 150.) 26

       Defendants, supported by Amici Brady and March for our Lives, contend that “the

overwhelming body of case law and empirical data demonstrate that LCMs are not needed

for ‘armed self-defense,’” nor are assault weapons commonly used in self-defense. (Brady

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Amicus at 2.) 27 Defendant’s expert Lucy Allen’s 28 research on incidents documented by The

Heritage Foundation’s database, which is meant to “highlight” stories of successful self-

defense, shows only 51 of the 2714 incidents, or 2%, involving any kind of rifle, with no

further breakdown indicating whether those rifles were “assault weapons.” (Defs.’ Ex. D,

Decl. of Lucy Allen [Doc. # 37-4] ¶¶ 21-23.) 29 In reported instances of self-defense

involving firearm use from 2011-2017, Allen submits evidence that only 2.34 shots are

fired in self-defense on average, with individuals firing 5 shots or fewer in 97.3% of all

incidents nationally, and in Connecticut specifically, no individual fired more than 10

rounds in self-defense in reported incidents between 2011-2017. (Allen Decl. ¶¶ 10, 16-

17.) 30 Donahue concludes that in light of those statistics, the fact that “[a]ll firearms that

can accept high-capacity magazines can also accept magazines that hold fewer rounds” and

the firing rate of a semi-automatic firearm would be irrelevant if only brandishing it was

necessary to deter threats, it “cannot be seriously maintained that assault weapons and

high-capacity magazines play any important role in furtherance of the Second Amendment

goal of self-defense.” (Donahue Decl. ¶ 153.)

       “[W]hether a weapon is in common use depends a lot on how generally one defines

the weapon; for instance, as a handgun generally, or as a Glock 17 in particular.” See

Volokh, supra, at 1481. Because Heller focused on handguns being “the most popular

weapon chosen by Americans for self-defense in the home,” the Court views the correct

inquiry to be how many Americans actually own and use assault weapons for self-defense.

Heller, 554 U.S. at 629. The data relied on by both sides, unfortunately, is unhelpfully

general in nature to the extent that it divides the statistics only by categories such as

handgun or rifle, rather than semiautomatic or non-semiautomatic. Given those limitations,

this Court cannot determine whether assault weapons are in “common use” because,

importantly, the challenged statute does not ban all rifles, pistols, or shotguns; statistics

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that do not differentiate between assault weapons and other firearms within those

categories are thus of limited assistance. Even if the Court were to credit Plaintiffs’

statistics on the common use of rifles, the fact that 13.1% of self-defense incidents involve a

rifle of some kind does not assist this Court in determining whether the specific

semiautomatic rifles covered by this statute are used commonly for self-defense. As for

semiautomatic handguns and the banned shotguns, Plaintiffs offer no evidence regarding

the possession or use statistics of either.

       Plaintiff’s single survey on the reason for which the survey respondents reportedly

bought their assault weapons does not demonstrate that assault weapons and LCMs

possess characteristics that make them well-suited for self-defense. To the contrary,

Donahue explains that because “[b]ullets fired by assault weapons or a modern weapon

with an LCM will easily penetrate walls,” their use threatens family members or occupants

of occupied dwellings, as illustrated by one instance in which a concealed carry permit

holder accidentally fired his gun in a gun safety class, and the bullet passed through a wall

to kill the gun store owner in the next room. (Donahue Decl. ¶ 154.) Donahue notes that

experts “consider handguns clearly more suitable than assault weapons for self-defense.”

(Id. ¶ 158.) 31 Cf. Heller, 552 U.S. at 629 (noting that handguns have particular features that

make them preferable as a home defense tool).

       In the absence of persuasive evidence that the assault weapons or LCMs listed in the

statutes are commonly used or are particularly suitable for self-defense, Plaintiffs have

failed to carry their burden.

                                (2)   Possession for Use in and Actual Use of Assault

                                Weapons and LCMs in Non-Mass Shooting Crimes

       The Second Circuit recognized that after Heller, handguns cannot be constitutionally

banned despite being disproportionately used in murders and violent crimes as compared

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to other firearms. Cuomo, 804 F.3d at 256. Plaintiffs reason therefore that use in crime

alone cannot be enough to find that the assault weapons and LCMs are not protected by the

Second Amendment. They also dispute the premise that assault rifles are often used in

crime, asserting that “evidence indicates” that under 1% of guns used in crimes were

“assault rifles” as of 1997. 32 Plaintiffs claim that more recent FBI statistics demonstrate

that rifles (with no breakdown between semiautomatic rifles and non-semiautomatic

rifles) were used in only 315 murders per year between 2015 and 2019, whereas 669

murders are committed by hands, fists, and feet in that time period. 33

       Defendants maintain that assault weapons and LCMs are often used to perpetrate

“unlawful violence” and are “particularly popular weapons for drug traffickers and gang

members both in the U.S. and Mexico,” citing to Donahue’s assertion that “lost or stolen”

guns are “one of the most important sources of weapons for criminals in the United States.”

(Donahue Decl. ¶ 115.) 34 Donahue concludes that the 364 killings with rifles is likely an

undercount as there were also 3281 murders with “firearms, type not stated” where no

information about the type of firearm was available, and the data reported by the FBI does

not capture whether any of those murders were committed with semiautomatic pistols—

some of which are also defined as assault weapons. (Donahue Decl. ¶¶ 178-79.) Donahue

also points out that police departments are not required to report data to the FBI on

firearm homicides, and that the figures do not account for shootings committed with

assault rifles that did not result in death. (Id. ¶ 179.) Because these statistics do not track

what types of firearms are used with enough precision to determine whether they are

assault weapons as defined by the Challenged Statutes, this data provides limited relevant

insight.

       Donahue further posits that “[a]ssault weapons pose particular dangers and

problems to law enforcement” beyond those of an average handgun because “the types of

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rounds typically fired by assault weapons as well as the muzzle velocities they tend to

have” make them “’capable of penetrating the soft body armor customarily worn by law

enforcement.’” 35 Additionally, the “ability to fire rapidly allows criminals to more

effectively engage with responding police officers, even from a significant distance,” and

despite the “relative rarity” of assault weapons used in crime generally, “’one in five law

enforcement officers slain in the line of duty was killed with an assault weapon’” and

assault weapons “’accounted for 13.2% of the firearms used in [police murders]’” from

2009-2013. 36 (See also Defs.’ Ex. F, Decl. of Prof. Randolph Roth [Doc. # 37-6] ¶ 51) (assault

weapons “maintain parity with law enforcement in a standoff, which is why many police

and sheriff departments across the United States have purchased semiautomatic rifles and

armored vehicles to defend themselves and decrease the likelihood that officers are killed

or wounded.”)37

       Plaintiffs do not rebut the point that assault weapons and LCMs are substantially

more lethal and prone to causing injury when utilized in crime than a non-semi-automatic

handgun or rifle, and the Second Circuit has observed that assault weapons are

“disproportionately used in crime . . . [and] to kill law enforcement officers: one study

shows that between 1998 and 2001, assault weapons were used to gun down at least

twenty percent of officers killed in the line of duty.” Cuomo, 804 F.3d at 262. As a result, law

enforcement officers and agencies require additional time and resources preparing for

encounters with individuals wielding assault weapons, and the consequences when law

enforcement are—either as a matter of perception or reality—not timely equipped to

confront an individual with an assault weapon may play out tragically. (Donahue Decl. ¶

44.)

       The semi-automatic nature of the assault weapons banned by the Challenged

Statutes and the increased danger to law enforcement have led to their increased use in

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crime, and the evidence as to the suitability of these weapons for crime outweighs the

limited evidence Plaintiffs presented on the use of these weapons for self-defense.

However, mindful of the fact that the commonality of a particular firearm or weapon’s use

in crime was not enough to find in either Heller or Cuomo that the firearms at issue were

not typically used for law-abiding purposes, the Court additionally considers the

Defendants’ other rebuttal evidence regarding the typical use of such weapons.

                             (3)    Possession for Use in and Actual Use of Assault

                             Weapons and LCMs in Mass Shootings

       Assault weapons have been used to perpetuate approximately one-third of the high

fatality mass shootings in the past 32 years, and between 2014 and the end of 2022, that

number has increased to approximately half. (Klarevas Decl. ¶ 23). 38 When assault

weapons and LCMs were used in active shooter incidents, “deaths and injuries were

substantially higher for the 61 active shooter incidents using a semiautomatic rifle versus

the 187 episodes using some other firearm,” and the average number killed or wounded

with a semiautomatic rifle was 9.72, higher than the average 5.47 killed or wounded when

some other firearm was used. (Donahue Decl. ¶ 48.) 39 The ten deadliest mass shootings in

American history were all carried out using either an assault weapon or a firearm equipped

with an LCM. (Id. ¶ 49, Table 1.) The trend of increased use of assault weapons and LCMs in

mass shootings also shows “a growing preference for using assault weapons and LCMs” to

perpetrate attacks, particularly in high-fatality mass shootings. (Klarevas Decl. ¶ 12-13.)

       Plaintiffs   offer no evidence that       assault   weapons and LCMs          are not

disproportionately used in mass shootings 40, and the Court finds the evidence weighs in

favor of Defendants’ arguments that the use of such weapons in mass shootings

demonstrates that the weapons are commonly used for reasons other than lawful self-

defense.

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                            (4)    Possession and Use of Assault Weapons and LCMs

                            for their Military Characteristics

       Defendants submit that the challenged firearms and LCMs are military style

weapons that are “built for killing large numbers of people rapidly in open spaces[;]” “more

shots fired, more victims wounded, and more wounds per victim” translates to “more

injuries, more lethal injuries, and higher rates of death than incidents involving more

conventional firearms. (Defs.’ Mem. at 16.) Detective Warenda’s opinion is that the assault

weapons in the challenged statutes are essentially civilian versions of “the most prolific

military firearms in the world”: the M-16/AR-15 and the AK-47. (Warenda Decl. ¶ 22.) The

injuries caused by AR-15s are also particularly severe; the designers have stated that the

AR-15 was engineered to generate “maximum wound effect.” Doctor Peter Rhee, a trauma

surgeon who saved the life of Congresswoman Gabby Giffords after she was shot in the

head with a handgun, said that “[a] handgun [wound] is simply a stabbing with a bullet. It

goes in like a nail. [But with the AR-15,] it’s as if you shot somebody with a Coke can.”

(Donahue Decl. ¶ 109.)

       Defendants also argue that LCMs are uniquely dangerous and deadly because they

“allow a shooter to fire more than ten rounds without having to pause to reload.” Kolbe v.

Hogan, 849 F.3d 114, 125 (4th Cir. 2017), abrogated by Bruen. The Fourth Circuit found

that this was a “uniquely military feature” intended to “enable a shooter to hit multiple

human targets very rapidly.” Id. at 137. LCMs were originally designed for military use in

World War I and did not become widely available for civilian use until the 1980s. (Roth

Decl. ¶¶ 49-51.) The other accessories that are banned in conjunction with certain firearms

are also meant to enhance the effectiveness of the weapons and ultimately “enhance the

death toll” in mass shooting events; “pistol grips and thumbhole stocks enable easier spray-

firing; a collapsible or folding stock allows the weapon to be shortened and more easily

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concealed; and barrel shrouds are essential for mass shooters to continuously fire their

weapons without suffering discomfort from an overheated barrel.” (Donahue Decl. ¶ 65.)

       The U.S. Army chose to adopt the M-16 as a military rifle due to its “phenomenal

lethality” and reliability, as well as its increased ability to penetrate helmets and body

armor. (Id. ¶¶ 103-06.) Although its progeny, the AR-15, is semiautomatic rather than fully

automatic, Donahue notes that the civilian AR-15 “retains all other aspects that made it

such a valuable lethal weapon for deadly combat,” and that the Army’s own field manual

states that semi-automatic fire is “the most important firing technique during fast-moving,

modern combat” given how “devastatingly accurate rapid semi-automatic fire can be.” (Id.

¶ 107.) According to Retired Army Maj. Gen. Paul D. Eaton, “[f]or all intents and purposes,

the AR-15 and rifles like it are weapons of war….It is a very deadly weapon with the same

basic functionality that our troops use to kill the enemy.” (Id. ¶ 170.)

       The marketing of assault weapons reflects these military roots. Smith & Wesson

sells a “Military & Police” (M&P) AR model, which was used in the Aurora, Colorado movie

theater shooting. (Id. ¶ 111.) A 2016 shooting in Baton Rouge, Louisiana, involved a TAVOR

assault rifle, described by the manufacturer as “the ultimate weapon of the 21st century,”

and described on the page for Israel Weapon Industries as having been developed in co-

operation with the Israeli Defense Forces in response to “dynamic changes in the modern

battlefield, the threats of global terrorism and the demands of ever-changing combat

situations.” (Id. ¶ 112.) Assault weapons have been advertised using phrases such as “[t]he

closest you can get without having to enlist,” or as being “for the ‘warrior’ in you.” (Id. ¶¶

91, 101.) The Bushmaster assault rifle used in the Newtown massacre was advertised with

the slogan “Forces of opposition, bow down,” and another advertisement depicted the

Bushmaster rifle with the phrase “consider your man card reissued,” stating that “[i]f it’s



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good enough for the professional, it’s good enough for you.” (Id. ¶¶ 93, 97.) The firearms

industry itself sometimes referred to AR-style rifles as “assault rifles.” (Id. ¶ 96.)

        Plaintiffs assert that Heller forecloses any argument that a firearm’s relationship to

use in the military bears on its constitutionality based on its conclusion that Miller’s use of

the phrase “part of ordinary military equipment” meant only that the Second Amendment

was supposed to protect arms in common use at the time for self-defense, such as firearms

that would have been brought to militia service when men were called up for it, rather than

weapons “not typically possessed by law-abiding citizens for lawful purposes.” Heller, 554

U.S. at 624-25. Plaintiffs read Heller and Miller to mean that because “[w]eapons in common

use brought to militia service by members of the militia” are protected by the Second

Amendment, and militia members “fight wars,” then states cannot ban “all weapons useful

for fighting wars.” (Pls.’ Reply at 32.) They reason that only machineguns, bombers, and

tanks, aka specialized weapons used by a standing army, can be constitutionally banned.

(Id. at 33.)

        In short, Plaintiffs divide weapons into two categories: “the type of weapons that a

nation-state uses in its armed forces,” which are unprotected by the Second Amendment,

and “weapons in common use,” which are protected by the Second Amendment regardless

of the “relative dangerousness” of the firearm, which Plaintiffs view as “irrelevant.” (Oral

Argument Tr. at 19-20.) Plaintiffs openly acknowledge that under this logic, even if a gun

manufacturer began producing and selling the most dangerous weapon on earth for the

military, “if the legislatures of the American people decided to deregulate a particular

weapon and over the centuries that weapon became owned by tens of millions of people, it

would not be dangerous and unusual[.]” (Id. at 21.) The Court rejects this logic; while

constitutional protections adapt to the constant evolution of societal norms and

technology, no other constitutional right waxes and wanes based solely on what

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manufacturers choose to sell and how Congress chooses to regulate what is sold, and the

Second Amendment should be no exception.

          In addition to being built upon flawed logic, Plaintiffs’ argument is also contradicted

by history. During the time of the Founding, there was a distinction between the guns

people typically owned at home and those that were most useful in fighting the

Revolutionary War. “Killing pests and hunting birds were the main concern of farmers, and

their choice of firearm reflected these basic facts of life. Nobody bayoneted turkeys, and a

pair of polished dueling pistols were of limited utility for anyone outside of a small elite

group of wealthy, powerful, and influential men.” (Defs. Ex. G, Decl. of Prof. Saul Cornell 41

[Doc. # 37-7] ¶ 19.) Instead, “the guns most Americans owned and desired were those most

useful for life in an agrarian society: fowling pieces and light hunting muskets.” (Id.) It was

because of this discrepancy between militia weapons and weapons typically kept and used

at home that it was difficult to equip militias with weapons such as working, battle-suited

muskets, and laws “requiring” people to be armed with particular kinds of weapons were

passed as a result. (Id.) Thus, the Second Amendment’s meaning cannot be read to equate

the weapons people had at home with weapons useful for fighting war, because weapons

useful for fighting war were not those that men were likely to have lying around the house.

(Id. ¶)

          Finally, Plaintiffs’ cherry-picked quotations of Heller disregard the portion of the

opinion stating that in banning “dangerous and unusual” weapons, “[i]t may well be true

today that a militia, to be as effective as militias in the 18th century, would require

sophisticated arms that are highly unusual in society at large,” but that nevertheless,

“weapons of war” such as M-16 rifles “and the like” may be banned. 552 U.S. at 627-28.

Plaintiffs claim that the distinction between the fully automatic M-16 and semi-automatic

weapons such as the AR-15 is legally significant based on Staples, but Staples does not

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mention the AR-15, nor does it opine on whether the distinction between an M-16 and AR-

15 is significant for the purpose of the Second Amendment.

       In sum, the fact that a modern American citizen might want to possess a military-

grade weapon that would be effective in warfare is irrelevant given Heller’s

acknowledgment that “modern developments have limited the degree of fit between the

prefatory clause and the protected right” in the Second Amendment; whether a weapon

would be useful or necessary for an effective militia is a concern now “completely

detached” from the actual right itself. Heller, 554 U.S. at 627. Plaintiffs offer no rebuttal for

the substantive point that assault weapons and LCMs are more suitable for military use

than civilian self-defense. Thus, the Court finds this record to support the conclusion that

the militaristic character of assault weapons weighs in favor of finding that they are not

typically possessed by the average citizen for self-defense.

                       c)     Overall Conclusion on Plaintiffs’ Burden

       The foregoing analyses of the record and case law demonstrate Plaintiffs’ failure to

meet their burden to show that the statutorily defined assault weapons and LCMs are

protected by the Second Amendment, and there is thus no likelihood Plaintiffs can succeed

on the merits.

                 2.    Whether the Firearm Regulations are Consistent with the

                 Nation’s Historical Tradition of Firearm Regulation

       Even if Plaintiffs had met their burden under the first part of the test, there is

another independent reason for denying the preliminary injunction: Defendants have

demonstrated under step two of the Bruen analysis that the Challenged Statutes pose a

comparable burden to relevantly similar historical analogues for comparably justified

reasons.



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       When evaluating Defendants’ justifications under the second part of the Bruen

analysis, courts “assess whether modern firearms regulations are consistent with the

Second Amendment's text and historical understanding.” Bruen, 142 S. Ct. at 2131. Some

inquiries, Bruen said, would be “straightforward”:

          For instance, when a challenged regulation addresses a general societal
          problem that has persisted since the 18th century, the lack of a distinctly
          similar historical regulation addressing that problem is relevant evidence
          that the challenged regulation is inconsistent with the Second
          Amendment. Likewise, if earlier generations addressed the societal
          problem, but did so through materially different means, that also could be
          evidence that a modern regulation is unconstitutional. And if some
          jurisdictions actually attempted to enact analogous regulations during
          this timeframe, but those proposals were rejected on constitutional
          grounds, that rejection surely would provide some probative evidence of
          unconstitutionality.

Id. However, Bruen also recognized that “other cases implicating unprecedented societal

concerns or dramatic technological changes may require a more nuanced approach”

because “[t]he regulatory challenges posed by firearms today are not always the same as

those that preoccupied the Founders in 1791 or the Reconstruction generation in 1868.” Id.

at 2132. Bruen explained that “history guide[s] our consideration of modern regulations

that were unimaginable at the founding,” and that the “historical inquiry . . . will often

involve reasoning by analogy.” Id. Bruen pointed to Heller as an example of how “fixed”

meanings of terms based on the “understandings of those who ratified it” could be applied

to new circumstances, referring to its finding that “arms” applied to more than those arms

existing in the 18th century because its “general definition” also covers “modern

instruments.” Id.

       Recognizing the need for some guidance on “which similarities are important and

which are not” for purposes of identifying relevantly similar historical analogues, Bruen

provided two metrics: (1) “how” and (2) “why” the regulations burden a law-abiding


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citizen's right to armed self-defense,” with the central inquiry being “whether modern and

historical regulations impose a comparable burden on the right of armed self-defense and

whether that burden is comparably justified.” Id. at 2132-33. Bruen noted that “analogical

reasoning under the Second Amendment is neither a regulatory straightjacket nor a

regulatory blank check,” cautioning courts against upholding any law that only “remotely

resembles” an analogue or striking laws down which do not have a historical “twin.” Id. at

2133.

                     a)      Whether Violence Perpetrated through Use of Assault

                     Weapons is an Unprecedented Societal Concern

        Defendants submit that the Challenged Statutes address an unprecedented societal

concern and dramatic technological change that requires a more nuanced analogical

inquiry to determine if the regulation is consistent with firearms regulation in America.

Amici Brady and March for Our Lives support Defendants’ position that because semi-

automatic firearms were not introduced until “more than half a century after ratification of

the Fourteenth Amendment,” the lack of a historical tradition of regulating them dating

back to the Second and Fourteenth Amendments’ enactments is “meaningless,” and the

Court should instead take a broader view of what may be a comparable analogue. (Brady

Amicus at 17.) Plaintiffs rejoin that because lawmakers in the Founding era were familiar

with mass casualty and mass murder, mass shootings are instead a “general societal

problem that has persisted since the 18th century.” 42 (Pls. Reply at 7) (quoting Bruen, 142 S.

Ct. at 2132.)

                             (1)    History of Firearm-Related Homicides in America

        To determine whether Defendants are correct that mass shootings are a modern

societal development, the Court will examine the history of firearm violence in America,

and the modern rise of mass shootings in America. Cornell submits that “there was no

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comparable societal ill to the modern gun violence problem for Americans to solve in the

era of the Second Amendment,” primarily because of “the nature of firearms technology

and the realities of living life in small face to face and mostly homogenous rural

communities that typified many parts of early America.” (Cornell Decl. ¶ 18.) Roth explains

that the reason for rare regulation of possession of firearms by colonists of European

ancestry, in contrast to heavy regulation of firearm usage and ownership by Native

Americans and African Americans between 1688 and 1763, was primarily because Native

Americans and African Americans were feared, and because there was a “surge in patriotic

fellow feeling” between European-originating colonists as well as “greater trust in

government.” (Roth Decl. ¶ 14.)

       Around the time of the Founding, fifty to sixty percent of households owned a

working firearm, usually a musket or another muzzle-loading gun designed to hunt birds or

control vermin. (Roth Decl. ¶ 15.) Firearm use in homicides was “generally rare” because

muzzle-loading firearms were “lethal and accurate enough at short range, but they were

liable to misfire,” most often could not fire multiple shots without reloading and could not

be used impulsively unless they were already loaded for some purpose. (Id. ¶ 16). Guns

were “not the weapons of choice in homicides that grew out of the tensions of daily life,”

but firearm use became more common during times of “anticipated violence or during

times of political instability,” when American colonists anticipated armed hostile

encounters with Native Americans, or when slave catchers were searching out runaway

slaves. (Id. ¶¶ 17-18.)

                            (2)    Modern Mass Shootings

       As Roth explains, while “[m]ass murder has been a fact of life in the United States

since the mid-nineteenth century,” it was “a group activity through the nineteenth century

because of the limits of existing technologies.” (Id. ¶ 41.) “The only way to kill a large

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number of people was to rally like-minded neighbors and go on a rampage with clubs,

knives, nooses, pistols, shotguns, or rifles—weapons that were certainly lethal but did not

provide individuals or small groups of people the means to inflict mass casualties on their

own.” (Id.)

       It was only in the late nineteenth and early twentieth century “with the invention

and commercial availability of new technologies that gave individuals or small groups of

people the power to kill large numbers of people in a short amount of time” that the

“character of mass murder began to change.” (Id. ¶ 44.) According to Klarevas, “there is no

known occurrence of a mass shooting resulting in double-digit fatalities at any point in time

during the 173-year period between the nation’s founding in 1766 and 1948,” with the first

shooting that resulted in 10 or more deaths occurring in 1949. (Klarevas Decl. ¶ 18.)

Further, Donahue states that mass shootings first came into public consciousness almost

two decades later in 1966, when Charles Whitman used “scoped hunting rifles” from the

top of the University of Texas memorial tower to kill 14 and wound 32; he was an “expert

Marine marksman perched in a very protected space,” and carried out his assault over 90

minutes. (Donahue Decl. ¶ 84.) Donahue notes that this incident stands in contrast to the

November 5, 2009 shooting at Fort Hood, where an inexperienced shooter “was able to fire

214 times” in less than ten minutes to kill nine people and wound 17 others. (Id.)

       According to Donahue, Americans did not move towards the “pervasive possession

of modern weaponry” until the 1980s, during which time the Glock 9 mm semiautomatic

pistol was introduced to the market and assault rifles were being advertised more heavily.

(Id. ¶ 85.) The early 1980s was also when the distribution of double-digit-fatality mass

shootings began to increase sharply and was the period during which “assault weapons

were used to perpetrate mass shootings resulting in 10 or more deaths” for the first time.

(Klarevas Decl. ¶ 20.) In 1994, Congress passed the Public Safety and Recreational Firearms

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Use Protection Act, 18 U.S.C. § 921(a)(30), otherwise known as the Federal Assault

Weapons Ban, to “address the problem” of mass shootings and “restrict[] mass shootings”

by curtailing the purchase and sale of new assault weapons and high-capacity magazines.

The legislation had a sunset provision which took effect in 2004 and Congress did not

renew the legislation, at which point gun massacre incidents and fatalities began to

increase substantially. (Donahue Decl. ¶¶ 85-89; Klarevas Decl. ¶¶ 20-21.)

       High-fatality mass shooting violence is “on the rise” and poses a “significant—and

growing—threat to American public safety.” (Klarevas Decl. ¶ 11.) Donahue states that

mass shootings, which are typically measured by whether at least four individuals are

killed excluding the shooter, occurred at an average rate of 2.7 public mass shootings per

year in the 1980s, rising to 4.5 events per year from 2010 to 2013, and continuing to rise

with 30 mass shootings in 2017 alone, and 61 mass shootings in 2021. (Donahue Decl. ¶¶

36, 40 n. 13 and Figure 1.) 43

       Donahue takes the position that the lethality of assault weapons and their use in

mass shootings is a unique and modern problem separate from the general issue of gun

violence. To illustrate, he points to the attempted assassination of President Ronald

Reagan, in which the assassin fired six shots with a .22 caliber revolver before his gun was

emptied and he was tackled. (Id. ¶ 56.) All four shooting victims survived. However, a

semiautomatic pistol with 15 or more bullets “would have enabled the assassin to fire off

many more rounds, hitting many more victims” and both the typical caliber of a pistol

round used in semi-automatic pistols and the use of an LCM to inflict wounds would have

increased the chances of lethality. (Id. ¶ 57.) Defendants document the increase in the

lethality of firearms; a Founding-era flintlock muzzleloader could kill 43 people per hour,

and a Civil War-era rifle could kill 102 people per hour; a 1903 bolt-action rifle with a



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magazine, however, could kill 495. Darrell A.H. Miller & Jennifer Tucker, Common, Use,

Lineage, and Lethality, 55 U.C. Davis L. Rev. 2495, 2508 (2022).

       The psychological impact of mass shootings on the psyche of law-abiding Americans

is also new and unique. Mass shootings cause “significant emotional and mental health

harms” to survivors, but also cause “broad social damage” such as increased stress in the

surrounding community and general population at large. 44 (Donahue Decl. ¶¶ 58-63.)

Donahue notes that “[r]estrictions on weaponry have historically followed growing

criminal abuse and social harm, rather than at the time these weapons are first introduced”

because “it is not always clear at the outset which inventions will lead to adverse impacts

on public safety. Frequently, the dangers of products and practices fly below the radar until

their proliferation generates sufficient social damage to enable the public and the scientific

community to become aware of the full extent of their social harm.” (Id. ¶ 136.)

       “Connecticut’s assault weapons ban was not primarily enacted to address gun crime

generally, but rather was adopted in response to the growing mass shooting problem in the

United States” and specifically, the Sandy Hook Elementary school shooting. (Id. ¶¶ 145-

46). 45 Thus, the record supports the conclusion that mass shootings carried out with

assault weapons and LCMs that result in mass fatalities are a modern societal problem; the

development of semiautomatic fire has led to a level of casualties and injuries from firearm

violence previously unseen in American history and has been spurred by factors and

advances in technology that would have been unimaginable to the Founding Fathers. While

this conclusion does not automatically dictate that Defendants’ regulation will be upheld, it

does mean that the absence of regulations of semiautomatic firearms at the time of the

Founding is not dispositive evidence against Defendants’ position, and that a more

“nuanced” view is required considering whether particular statutes and traditions of

regulation are analogous to the challenged statutes at issue using the guiding principles

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that both Heller and Bruen set out for how to evaluate specific time periods and types of

historical sources.

                      b)    Methodology for Evaluating Historical Sources

       In Heller, the Supreme Court looked to “analogous arms-bearing rights in state

constitutions that preceded and immediately followed adoption of the Second Amendment”

to support the proposition that the right was understood as “an individual right to use arms

for self-defense,” but cautioned that it was “dubious to rely on” the “drafting history of the

Second Amendment” such as the “various proposals in the state conventions and the

debates in Congress” to interpret the Second Amendment’s meaning. Heller, 554 U.S. at 603.

To interpret public understanding of the right “from immediately after its ratification

through the end of the 19th century,” the Supreme Court considered writings from

“important founding-era legal scholars,” state and federal court cases during that period,

and records of public discussion of the right by antislavery advocates. Id. at 605-10. While

Heller cautioned that the “outpouring of discussion of the Second Amendment in Congress

and in public discourse” in the aftermath of the Civil War does “not provide as much insight

into [the] original meaning [of the right] as earlier sources,” the Supreme Court

nevertheless determined that the public’s “understanding of the origins and continuing

significance of the Amendment” during that period is “instructive.” Id. at 614. It also noted

that it “would not stake our interpretation of the Second Amendment upon a single law, in

effect in a single city, that contradicts the overwhelming weight of other evidence.” Id. at

632.

       Bruen also provided several general principles to guide lower courts in evaluating

the historical record. Historical evidence that “long predates” either 1791 when the Second

Amendment was adopted or in 1868 when the Fourteenth Amendment was adopted “may

not illuminate the scope of the right if linguistic or legal conventions changed in the

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intervening years”, and courts should take caution in evaluating English practices and

common law to determine whether they “prevailed up to the period immediately before

and after the framing of the Constitution” or whether they had become “obsolete in

England at the time of the adoption of the Constitution” and were never “acted on or

accepted in the colonies.” Bruen, 142 S. Ct. at 2136. Evidence of the public understanding of

the Second Amendment from immediately after its ratification through the end of the 19th

century can provide clarity on whether a court’s interpretations of earlier history are

consistent with how the right was understood; “where a governmental practice has been

open, widespread, and unchallenged since the early days of the Republic, the practice

should guide our interpretation of an ambiguous constitutional provision”, but “to the

extent later history contradicts what the text says, the text controls.” Id. at 2136-37. 46

“Post-Civil War discussions of the right to keep and bear arms” can be relevant to a limited

extent, but do “not provide as much insight into its original meaning as earlier sources,”

and are “secondary” to the text of the Second Amendment and state constitutions. Id. at

2137.

        Bruen also cautioned against giving disproportionate weight to isolated examples or

historical outliers; for example, statutes applying only to territories, as opposed to states,

deserve “little weight” because they were “consistent with the transitory nature of

territorial government” and “short lived”; and a “single state statute”, “pair of state-court

decisions”, or statute that “governed less than 1% of the American population” could not be

used to uphold a challenged statute if the “overwhelming weight” of the other evidence

suggested that the statutes were outliers. Id. at 2153-55.

        With these principles of interpretation in mind, the Court turns to the historical

evidence submitted by Plaintiffs and Defendants.



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                     c)     Whether the Burden imposed by the Statutes is a

                     Comparable Burden to that of Historically Analogous Regulations

                     and is Comparably Justified

       Defendants submit that there are three relevant categories of restrictions analogous

to the challenged statutes: regulations on new and dangerous weapon technology,

concealed weapon regulations, and gunpowder regulations.

                            (1)    New and Dangerous Weapon Technology

       Regardless of whether the guns are “dangerous and unusual” as that term was used

in Heller, Defendants maintain that there is a longstanding tradition of governments “using

their police powers to regulate new weapons that posed an unprecedented risk to public

safety,” such as folding knives, dirk knives, Bowie knives, and percussion-cap pistols (which

could be carried loaded for longer periods of time due to advancements in firearm

manufacturing) being banned or taxed prohibitively after being used in an “alarming

proportion of the [post-Revolutionary War] era’s murders and serious assaults.” (Defs.’

Mem. at 33.) Roth explains that the first prohibitions against many of these “certain

concealable weapons” were passed in Kentucky, Louisiana, Indiana, Arkansas, Georgia, and

Virginia between 1813 and 1838, meaning that several were enacted “during the lifetimes

of Jefferson, Adams, Marshall, and Madison.” 47 (Roth Decl. ¶¶ 26-27.) For example,

Georgia’s 1837 law 48 passed banned Bowie knives as well as pistols “as arms of offense or

defence” in response to a rise in those weapons “being used in crime by people who carried

them concealed on their persons.” (Roth Decl. ¶¶ 26-27). 49

       The need for further regulation once more became apparent from surging homicide

rates and the invention of firearms like the Colt revolver and the Smith and Wesson rimfire

revolver in the 1840s and 1850s, as well as the Colt double-action commercial revolver in

1889. (Id. ¶¶ 28-33.) Colt’s cap-and-ball revolver, invented in 1836, quickly gained

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popularity; it still had to be loaded one chamber at a time, and could not be loaded quickly

or indefinitely, but the two rotating cylinders allowed a person to fire five or six shots in

rapid succession and reload quickly with the second cylinder. (Id. ¶ 31.) States responded

by passing various restrictions, like the time-place-manner restriction in Texas passed in

1870, and the pocket pistol and revolver bans by Tennessee and Arkansas in 1871 and

1881. (Id. ¶ 36.) 50 When dynamite was invented in 1866, and the Thompson submachine

gun in 1918, legislatures responded with ammunition magazine restrictions in 1927 and

1934, the National Firearms Act of 1934 and 1938 restricting ownership of machine guns

and submachine guns, and the Organized Crime Control Act of 1970s restricting ownership

of explosives by building on the Federal Explosives Act passed in 1917. (Id. ¶¶ 44-47.) 51

       Defendants maintain that this pattern demonstrates a tradition of governmental

regulation of weapons “that posed a new danger or concern” as behaviors and technologies

changed beginning shortly after the founding and continuing through the Reconstruction

era and then modern eras. (Defs.’ Mem. at 34.) Thus, in Defendants’ view, regulations on

assault weapons are consistent with the kind of laws that states have passed “to address

new and evolving societal concerns presented by technologically advanced weapons

throughout history.” (Id.) Plaintiffs challenge this conclusion, referencing some firearms

that could fire more than 10 rounds without reloading that have been available for

centuries without being regulated. (Pls. Mot. at 23, 25). However, amici Brady and March

for Our Lives point out that many of those weapons were often malfunctioning, were

relatively uncommon, and were not widely used by civilians; for example, the Girandoni air

rifle, which Plaintiffs refer to as an example of a multi-shot gun in existence at the time of

the Second Amendment, required a “wagon-mounted pump filled with water to sustain the

pressure needed to operate” or “1500 manual hand pumps.” 52 There was no need to

regulate many of these firearms because they were neither commonly used nor widely

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accessible; however, the firearms that did pose new dangers to the public based on their

use of advanced technology were regulated.

       Plaintiffs also insist that Defendant’s “handful of isolated examples and outliers” are

not relevantly similar historical regulations that impose a comparable burden but are

instead “localized restrictions” that do not show a tradition of regulation like the statutes at

issue. (Pls.’ Reply at 9; see also Pls.’ Reply Ex. 1.) However, beyond objecting to the

relevance of each analogue based on their same strained readings of Heller and Bruen’s

holdings and methodology the Court has previously rejected, Plaintiffs produce no

evidence or data to undermine Defendants’ core premise, which is that governments have

been passing regulations targeting specific types or characteristics of weapons that have

proved problematic or dangerous since the time of the Founding, demonstrating that there

is a longstanding tradition of the government exercising its power to regulate new and

dangerous weapon technology. See Bevis v. City of Naperville, Illinois, No. 22 C 4775, 2023

WL 2077392, at *14 (N.D. Ill. Feb. 17, 2023) (holding that “governments enjoy the ability to

regulate highly dangerous arms (and related dangerous accessories)” and that “assault

weapons and large-capacity magazines fall under this category.”)

                             (2)    Concealed Weapon Regulations

       Defendants also contend that restrictions on concealed carry, which have been

enacted by American legislatures for over two centuries, are evidence of a nationwide

tradition of regulating the dangers posed by specific weapons and firearms. (Defs.’ Mem. at

35.) After the Revolution, Roth submits that there was “little interest in public officials in

the North” for restricting the use of firearms during the period after ratification of the

Second Amendment because “[p]olitical stability returned, as did faith in government and a

strong sense of patriotic [comraderie].” (Roth Decl. ¶¶ 21-22.) However, in the South,

discord remained as poor and middle-class whites were frustrated by their inability to rise

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in society, and tensions grew between enslaved African-Americans and whites. (Id. ¶ 23.)

Homicide rose, and public officials in the South recognized that concealable weapons like

pistols and certain knives were being used disproportionately in murders and serious

assaults. (Id. ¶ 24.) As a result, laws banning or restricting the carrying of concealed

weapons were enacted in Kentucky, Louisiana, Indiana, Arkansas, and Virginia between

1813 and 1838. (Id. ¶ 26.)

       After homicide rates continued to rise during the period from the Mexican War

through Reconstruction, and weapons like the Smith and Wesson rimfire revolver

“superseded knives and black powder handguns as the primary weapons used in

interpersonal assaults” because they were increasingly lethal and “[e]asily concealed,”

states responded with increasing degrees of firearm regulation, including time-place-

manner restrictions, prohibitions of open or concealed carry of particular firearms, and the

sale of particular firearms such as easily concealable pistols. (Id. ¶¶ 32-36.) By the early

twentieth century, “every state either banned concealed firearms or placed severe

restrictions on their possession” in response to the surge in homicide rates and the

invention of new firearms. (Id. ¶ 21.) Several courts upheld these concealed carry

restrictions as constitutional because they restricted only a “particular mode” of bearing

arms, rather than infringing on a person’s Second Amendment right. State v. Jumel, 13 La.

Ann. 399, 399–400 (1858). 53

       Plaintiffs contend that concealed weapon regulations are not analogous because

they prohibit a method of carry, not a type of weapon, and that Heller found them non-

analogous to D.C.’s ban on “commonly held arms.” (Pls.’ Reply at 13.) However, Heller and

Bruen were not considering a modern and unprecedented societal problem, which

warrants a more nuanced analysis; both cases also found only that a prohibition on

concealed weapons did not impose the same level of burden as a complete ban or proper-

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cause requirement for the “quintessential self-defense weapon,” not that concealed weapon

prohibitions may never be an analogue for other types of restrictions imposing only

comparable burdens. See Heller, 554 U.S. at 629; Bruen, 142 S. Ct. at 2143-44, 2150.

Defendants have produced sufficient evidence demonstrating that concealed carry statutes

were part of a broader tradition of targeting specific dangers posed by the characteristics

and unlawful use of particular weapons, and that those regulations were considered

constitutional because they left available sufficient avenues of carrying firearms for self-

defense. The Challenged Statutes do the same; they are tailored to address problems of

mass shootings and mass casualties that employ the firearms at issue with increasing

frequency, and still leave open alternative avenues for exercise the Second Amendment

right to self-defense, including through possession of the “quintessential” self-defense

weapon: a handgun or revolver.

                             (3)     Overall     Conclusion    on    Whether      Defendant’s

                             Historical Analogues are Relevantly Similar to the

                             Challenged Statutes

       Plaintiffs insist that the Founders would never have tolerated a ban of a particular

kind of gun because free, white male citizens were required to have firearms and

ammunition, indicating that early Founding-era regulations were meant to require gun

ownership rather than restrict it. (Pls.’ Reply at 15.) Mass killings, Plaintiffs maintain, were

a problem that existed at the time of the Founding, and the Founding generation’s solution

was for law-abiding citizens to engage in self-help by defending themselves and their

neighbors, rather than broadly disarming the populace of particular weapons to prevent

the unlawful from utilizing them. (Id. at 16).

       Defendants respond that the Founders saw the right to self-defense as existing in

harmony with and being further enabled by reasonable regulation of the right to keep and

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bear arms in order to maintain peace. (Cornell Decl. ¶¶ 7-9, 52-53.) In Defendants’ view,

the Challenged Statutes “do not prohibit or impact an entire class of firearms,” or even “all

semiautomatic firearms, long guns, rifles, or fully automatic firearms,” but instead “a small

subset of unusually dangerous military-style weapons, features, and magazines” that “are

not actually useful or used for any such lawful self-defense purposes in practice.” (Defs.’

Mem. at 20-21.) The rationale behind the Defendants’ submitted historical regulations is

the same one that drove the enactment of the Challenged Statutes: to respond to growing

rates of violence and lethality caused by modern innovations in technology and changing

patterns of human behavior by regulating the particular kinds of weapons or modes of

carry that were being most often employed by those causing the violence, while leaving

open alternative avenues for lawful possession of firearms for purposes of self-defense.

          As for the level of burden imposed, Heller did not foreclose any kind of restriction on

the types of firearms that can be possessed and carried, or even restrictions on firearms

that are commonly owned by lawful citizens—only a ban on firearms that are so

pervasively used for self-defense that to ban them would “infringe,” or destroy, the right to

self-defense. 54 Unlike the broader category of handguns at issue in Heller and Bruen, the

record developed here demonstrates that assault weapons and LCMs are suboptimal for

self-defense. A set of statutes that bans only a subset of each category of firearms that

possess new and dangerous characteristics that make them susceptible to abuse by non-

law abiding citizens wielding them for unlawful purposes imposes a comparable burden to

the regulations on Bowie knives, percussion cap pistols, and other dangerous or concealed

weapons, particularly when “there remain more than one thousand firearms that

Connecticut residents can purchase for responsible and lawful uses like self-defense, home

defense, and other lawful purposes such as hunting and sport shooting.” (Warenda Decl. ¶

33.) 55

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V.     Conclusion

       Plaintiffs have failed to show their likelihood of success on the merits, and so the

Court need not reach the remaining preliminary injunction factors. The motion for

preliminary injunction is DENIED.

                                                                                 IT IS SO ORDERED.


                                                          __________/s/________________________________

                                                                       Janet Bond Arterton, U.S.D.J.

                                Dated at New Haven, Connecticut this 3rd day of August, 2023




1 Brindiana Warenda, a trooper with the Connecticut State Police and the primary detective serving

in the Firearms Vault, was submitted as an expert in firearms by Defendants.

2 On June 6, 2023, 2023 Conn. Legis. Serv. P.A. 23-53 (H.B. 6667) further expanded the definition of

what constitutes an assault weapon by adding several new subsections; however, the sections of
each statute challenged by Plaintiffs are not substantively changed, and no motion to amend has
since been filed to include a challenge to the new subsections.
3 Unless otherwise indicated, this opinion omits internal quotation marks, alterations, citations, and

footnotes in text quoted from court decisions.

4 Plaintiffs argue further that the “no set of circumstances” rule does not apply to cases involving

the loss of “fundamental rights” because the “rules are different” for fundamental rights, such as the
general rule disfavoring facial vagueness challenges outside the First Amendment context. (Pls.’
Reply at 45) (quoting Farrell v. Burke, 449 F.3d 470, 496 (2d Cir. 2006)). However, Farrell does not
stand for the sweeping proposition that the rules go out the window for fundamental rights, and
instead recognizes that “that the Supreme Court ha[s] not spoken clearly as to whether a facial
challenge outside the First Amendment context had to show that a statute was impermissibly vague
in all applications, or merely that the statute was ‘permeated’ with vagueness” declining to adopt or
express a preference for either analysis, and that at best, prior Second Circuit precedent “arguably
suggests” that “at least some facial vagueness challenges may be brought outside the First
Amendment context” despite other “suggestion to the contrary.” Id. at n. 11.

5 Heller also pointed to 19th century case law and Founding era commentary such as Blackstone as

defining several (“although not an ‘exhaustive’ list”) of further limitations on the “scope of the
Second Amendment,” including “prohibitions on carrying concealed weapons,” “longstanding
prohibitions on the possession of firearms by felons and the mentally ill,” laws “forbidding the

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carrying of firearms in sensitive places such as schools and government buildings,” and “laws
imposing conditions and qualifications on the commercial sale of arms.” Id. at 626-27. In a footnote,
Justice Scalia cautioned that its list of “presumptively lawful regulatory measures” was meant “only
as examples” and that the “list does not purport to be exhaustive.” Id. at n. 26.

6 These cases included Nunn v. State, 1 Ga. 243, 251 (1846), which struck down a prohibition on

open carry of pistols while upholding a prohibition on concealed carry prohibitions; Andrews v.
State, 50 Tenn. 165, 183-84 (1871), which struck down a prohibition on open carry of pistols that
was “without regard to time, place, or circumstances”; and State v. Reid, 1 Ala. 612, 616–17 (1840),
which held that “[a] statute which, under the pretence of regulating, amounts to a destruction of the
right, or which requires arms to be so borne as to render them wholly useless for the purpose of
defence, would be clearly unconstitutional.”

7 Giffords Law Center further argues that the Second Circuit’s discussion of common use and typical

possession in Cuomo has limited weight given that the court recognized “that reliable empirical
evidence of lawful possession for lawful purposes was ‘elusive,’” and primarily relied on its analysis
under means-end scrutiny to come to the holding. (Giffords Amicus at 10.)

8 While the Second Circuit’s findings regarding means-end scrutiny may no longer constitute a

binding holding, its findings as to the level of burden imposed by the Challenged Statutes provides
useful guidance to this Court in determining whether the Challenged Statutes impose a similar level
of burden to a historical analogue under the Bruen test.
9 Both Heller and Bruen also dealt with a type of firearm that neither side disputed was commonly

used for self-defense by average citizens, and thus no conclusions can be drawn from the fact that
plaintiffs in those cases were not required to provide empirical support for their arguments.

10 Plaintiffs seize on language from Bruen in which the Supreme Court justifies its burden-shifting

framework by reference to First Amendment cases where the government bears the burden of
“showing whether the expressive conduct falls outside the category of protected speech.” Bruen,
142 S. Ct. at 2130. However, the cases Bruen cites in support make clear that the Supreme Court is
referring to situations where the government seeks to justify its regulation by demonstrating that
certain types of speech fall into a new categorically unprotected category akin to fighting words or
libel. See, e.g., United States v. Stevens, 559 U.S. 460 (2010). Such a burden might be applicable in, for
example, a case in which the government seeks to establish a new category of sensitive place in
which firearms can be banned, but has no applicability here.
11 Other courts have reached the same conclusion—that unusually dangerous weapons may be

banned by the government—but have done so under the history and tradition prong of the Bruen
test. See Herrera v. Raoul, No. 23 CV 532, 2023 WL 3074799, at *4 (N.D. Ill. Apr. 25, 2023); Bevis v.
City of Naperville, Illinois, No. 22 C 4775, 2023 WL 2077392, at *13 (N.D. Ill. Feb. 17, 2023). As
addressed infra, p. 64-65, even if a weapon must be dangerous and unusual to fall under the already
enumerated Second Amendment exception from Heller, the Court also finds that it is consistent
with the nation’s tradition and history of firearm regulation to regulate narrow and specific
categories of unusually dangerous weapons resulting from developments in firearm technology.


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12 Defendants make the same argument as to the firearm accessories in Conn. Gen. Stat. § 53-

202a(1). However, because the accessories or features enumerated are banned only in conjunction
with use as part of a banned firearm, rather than in isolation, there is no need to conduct a separate
analysis of whether the accessories warrant Second Amendment protection; whether the
underlying firearm itself is constitutionally protected will resolve both questions.

13 Dennis Baron is the Professor Emeritus and Research Professor at the University of Illinois and

has served as a member of both the English and Linguistics departments; he has a Ph.D. in English
language and literature, and publishes widely on “matters of historical use, in addition to topics
related to language and law.” (Baron Decl. ¶ 5.)

14 As corroborating evidence that two separate terms were used for each category, Defendants

submit a resolution passed by the 1778 Continental Congress, Congress Undertakes to Raise a
Cavalry Corps., in 2 Public Papers of George Clinton, First Governor Of New York 827, 828
(Wynkoop Hallenbeck Crawford Co. ed., 1900); Connecticut militia regulations during the Founding,
1799 Conn Acts 511, An Act For The Militia, § 4; and Miller, 307 U.S. at 182 (1939) (citing militia
regulations passed by the General Assembly of Virginia in October 1785), all of which use
“accoutrements” in addition to the word “arms”.

15 While Plaintiffs did not provide any details on Passamaneck’s credentials beyond his declaration,

which states that he has designed magazines, barrels, muzzle devices, gas blocks, and complete
firearms for manufacturers, and that he has been admitted in court cases as a firearms expert,
Defendants did not challenge his qualifications, and it appears from Westlaw that he was accepted
as a firearms expert in Rocky Mountain Gun Owners v. Hickenlooper, No. 2013CV33879, 2017 WL
4169712, at *4 (Colo. Dist. Ct. July 28, 2017). The Court is thus satisfied that it may consider his
testimony as expert testimony.

16 Plaintiffs also find support in a case from the Southern District of California that held that
magazines were arms; however, given the procedural posture of that case, which was vacated and
remanded repeatedly and most recently for further proceedings consistent with Bruen, the case has
minimal usefulness. See Duncan v. Becerra, 366 F. Supp. 3d 1131, 1142 (S.D. Cal. 2019), aff'd, 970
F.3d 1133 (9th Cir. 2020), reh'g en banc granted, opinion vacated, 988 F.3d 1209 (9th Cir. 2021),
and on reh'g en banc sub nom. Duncan v. Bonta, 19 F.4th 1087 (9th Cir. 2021), cert. granted,
judgment vacated, 213 L. Ed. 2d 1109, 142 S. Ct. 2895 (2022), and vacated and remanded, 49 F.4th
1228 (9th Cir. 2022).

17 In Oregon Firearms, 2022 WL 17454829 at *9, the district court found that LCMs are not “arms”

within the Second Amendment’s protection because they “are neither weapons themselves nor
necessary to the use of weapons.” Id. at *8. Defendants’ evidence was that “all firearms that can
accept a detachable large-capacity magazine can also accept a magazine that holds 10 or fewer
rounds and function precisely as intended.” Id. Ocean State Tactical, 2022 WL 17721175 at *12
reached a similar conclusion, noting that the plaintiffs could not carry their burden by “simply
assert[ing]” that magazines are “arms” without supporting expert opinion, historical or textual
sources.



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18 Nicholas J. Johnson, Supply Restrictions at the Margins of Heller and the Abortion Analogue, 60

HASTINGS L.J. 1285, 1296 (2009) and National Shooting Sports Foundation, Inc., 2021 Firearms
Retailer Survey Report, 9, available at https://bit.ly/3gWhI8E (last visited Jan. 30, 2023)).

19 Bloomberg, Why Gunmakers Would Rather Sell AR-15s Than Handguns, FORTUNE (June 20, 2018),

available at https://bit.ly/3R2kZ3s,

20 See William English, 2021 National Firearms Survey: Updated Analysis Including Types of Firearms

Owned (“2021 National Firearms Survey”) at 1 (May 13, 2022), available at https://bit.ly/3yPfoHw.

21 James Curcuruto was the Director of Research and Market Development at the National Shooting

Sports Foundation from 2009-2021 and was responsible for both internal and external research on
industry topics and trends including firearms, ammunition, target shooting, and hunting. Curcuruto
has also published and contributed to articles in trade magazines on the subject. (Curcuruto Decl.
¶¶ 2-5.)

22 The 2021 National Firearms Survey simply asks if the participants have ever owned a large

capacity magazine without specifying the time period, not whether they currently own one.

23 Professor John Donahue is the C. Wendell and Edith M. Carlsmith Professor of Law at Stanford

Law School, and teaches a course on empirical law and economics issues involving crime and
criminal justice that evaluates the nature of gun regulation in the United States and its impact on
crime, a topic on which he is also published. He has served as an expert in several gun regulation-
related and Second Amendment cases. (Donahue Decl. ¶¶ 3-20.)

24 Professor Louis Klarevas is a security policy analyst and current Research Professor at Teachers

College, Columbia University. He authored the book Rampage Nation as a study of gun massacres in
America, and his current research is on the nexus between American public safety and gun
violence; he is published on the topic of gun regulation and gun violence, and has served as an
expert in court cases on the topic as well. (Klarevas Decl. ¶¶ 2-8.)

25 Defendants cite to a 2015 survey finding that 8% of individual gun owners “collectively account[]

for 39% of the American gun stock,” and that 20% of gun owners possessed about 60% of the
nation’s guns. (Donahue Decl. ¶ 132.) AR-15 rifles “make up approximately 5% of privately owned
guns, compared to 50% for handguns,” and most Americans who do own guns do not own assault
weapons.” (Klarevas Decl. ¶ 27)

26 Assault weapons are also rarely used defensively in mass shootings; of the 406 active shooter

incidents since 2000 documented by the FBI, only one involved an armed civilian intervention with
an assault weapon. (Klarevas Decl. ¶ 25.)

27 While Defendants claim there are 3.8 million LCMs lawfully owned in Connecticut by only 41,000

individuals, i.e., about 1% of the state’s population, that statistic has limited relevance given the fact
that LCMs are largely illegal under the Challenged Statutes in Connecticut, and thus few individuals
are likely to own them. (Defs.’ Mem. at 24.)


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28 Lucy Allen is Managing Director of the National Economic Research Associates Economic
Consulting (“NERA”), a member of NERA’s Securities and Finance Practice, and Chair of NERA’s
Product Liability and Mass Torts Practice. She has previously been qualified as an expert and
testified in both federal and state courts on economic and statistical issues relating to the flow of
guns into the criminal market. (Allen Decl. ¶¶ 1-3.)

29That statistic remained consistent when excluding incidents in states that restrict assault
weapons. (Id. ¶ 24.)

30 Donahue notes that “NRA-affiliated and pro-gun experts” have repeatedly argued that “about 98

percent” of defensive gun uses “involve people brandishing a gun and not using them.” (Donahue
Decl. ¶ 151) (quoting John R. Lott testifying on behalf of the NRA in the State of Nebraska’s
Committee on Judiciary.) Amici Brady and March for our Lives also point to studies of the NRA’s
database of “armed citizen” accounts demonstrating that use of more than ten rounds of
ammunition for self-defense is “extremely rare” and the average shots fired by civilians in self-
defense was only about two. (Brady Amicus at 6.)

31 For example, Maryland Police Superintendent Marcus Brown submitted a declaration in Kolbe v.

O’Malley, 42 F. Supp. 3d 768 (D. Md. 2014) stating that “in many home defense situations assault
weapons are likely to be less effective than handguns because they are less maneuverable in
confined areas.” (Donahue Decl. ¶ 158.)

32 Gary Kleck, Targeting Guns: Firearms And Their Control 112 (1997).


33 U.S. Dept. of Just., Expanded Homicide Data Table 8: Murder Victims by Weapon, 2015-2019, Crime

in the United States, 2019, FBI, available at https://bit.ly/31WmQ1V. Donahue also argues that
Plaintiffs’ claims are of limited helpfulness because they inaccurately cite the statistics from the FBI;
for example, he states that, there were actually 16,425 murders reported by the FBI in 2019, rather
than 13,927 as claimed by Plaintiff. (Donahue Decl. ¶¶ 177-79.)

34 According to Donahue, roughly 400,000 guns move “into the hands of criminals” through theft or

lost guns every year, making it “orders of magnitudes more likely that a criminal will steal a gun of a
law-abiding citizen than a law-abiding citizen will fire an assault weapon in lawful self-defense.”
(Id.)

35 (Donahue Decl. ¶ 44) (quoting the declaration of Colonel Marcus Brown, then-Superintendent of

the Maryland State Police, submitted in Kolbe v. O’Malley, 42 F. Supp. 3d 768 (D. Md. 2014)).

36 (Donahue Decl. ¶ 44) (quoting Violence Policy Center, Officer Down: Assault Weapons and the War

on Law Enforcement, May 2003, available at http://www.vpc.org/studies/officer%20down.pdf (last
visited Oct. 12, 2018) at 5) and (Christopher S. Koper et al. 2017, Finding at 317).

37 Professor Randolph Roth is the Arts and Sciences Distinguished Professor of History at The Ohio

State University, and is the author of American Homicide, a comparative study of homicide in the
United States from colonial times to the present. He has published on the topic of violence and the


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use of firearms in the United States and has served as an expert witness in at least eight cases
concerning the constitutionality of state and municipal gun laws. (Roth Decl. ¶¶ 1-9.)
38 For assault weapons, examples include the 2021 Atlanta spa shooting; the 2022 Buffalo, New

York supermarket shooting; the 2022 Robb Elementary school shooting in Uvalde, Texas shooting;
and the 2022 Highland Park, Illinois’ Fourth of July parade shooting. (Donahue Decl. ¶¶ 42-43); see
also (Allen Decl. ¶ 36) (LCMs have been used in 73 out of 115, or 63%, of mass shootings). For
LCMs, examples include the 12 people killed in May 2019, at Virginia Beach by a shooter using
LCMs; the 23 people killed on August 2019, in El Paso, Texas by a shooter using LCMs, and the nine
people killed and 27 wounded just hours later in Dayton, Ohio by another shooter using LCMs; later
in August 2019, 7 were killed and 25 were wounded by a shooter using LCMs in Odessa, Texas.
(Donahue Decl. ¶ 37.) Defendants’ opposition was filed on January 31, 2023, and so the reports of
both sides’ experts make no reference to mass shootings that occurred after that date.

39 The study Donahue relies on excluded the Las Vegas shooting in which 50 were killed and 500

were wounded with semiautomatic rifles, as an extreme outlier.

40 Plaintiffs argue that “the fact that a weapon can be used in mass shootings does not disqualify it

from Second Amendment protection.” (Pls.’ Reply at 3.) In support, Plaintiffs point to the fact that
briefs filed in both Heller and Bruen drew attention to the fact that the Virginia Tech shooting, “the
worst mass shooting in U.S. history” at the time of Heller, had been committed with semiautomatic
handguns, and Heller nevertheless found that handgun bans are unconstitutional. These arguments
rehash Plaintiffs’ prior misreading of Heller and warrant no further discussion. See supra, p. 35-37.

41 Professor Saul Cornell is the Paul and Diane Guenther Chair in American History at Fordham

University, where he teaches constitutional history to undergraduate and graduate students; he
also teaches constitutional law at Fordham Law School. He has written on the topic of the Second
Amendment and gun regulation both in the context of his scholarship and has provided expert
declarations and portions of joint briefs in notable Second Amendment cases. (Cornell Decl. ¶¶ 2-4.)

42 Plaintiffs also argue that Heller and Bruen characterized handgun violence as a problem

persisting since the Founding, rather than an unprecedented societal concern; because mass
shootings are a form of handgun violence, Plaintiffs interpret Bruen and Heller to thus hold that
mass shootings are a not a new societal development because modern handguns are “the product of
exactly the same sort of technological innovation” as assault weapons, producing “the same societal
problem identified by the State” of mass shootings. (Pls.’ Reply at 5, 8.) Neither Heller nor Bruen
held mass shootings are not a modern societal phenomenon that could justify a complete ban of a
category of gun, and in fact, neither Heller nor Bruen even used the words “mass shooting” in the
majority opinions.

43 Four gun massacres resulting in double-digit fatalities occurred between October 2017 and May

2018: 60 people were killed at a concert in Las Vegas; 26 at a church in Sutherland Springs, Texas;
17 at a high school in Parkland, Florida; and 10 people at a high school in Santa Fe, Texas. (Id. ¶ 37.)
Mass school shootings have resulted in more deaths or injuries so far in the 21st century than in the
entire 20th century. (Id. ¶ 50.)


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44 Plaintiffs argue that the “availability heuristic,” or the psychological phenomenon where dramatic

incidents influence judgments in such a way that even when rare, people tend to overestimate the
likelihood of events like mass shootings and feel less safe as a result, cannot be used to justify a
burden on constitutional rights. (Pls.’ Reply at 42.) However, Defendants are instead arguing that
the newness of this phenomenon and the lack of such fears at the time of the Founding suggest that
mass shootings committed by assault weapons are a new societal phenomenon.

45 (See also Klarevas Decl. ¶ 38) (“The legislative intent of Connecticut . . . [in banning] assault

weapons and LCMs is to reduce the frequency and lethality of mass shootings . . . associated with
the increased kill potential of such firearm technologies.”)

46 However, the Supreme Court noted that it had “generally assumed” that the scope of the
protection applicable to both the Federal Government and States was “pegged to the public
understanding of the right when the Bill of Rights was adopted in 1791,” but that there “is an
ongoing scholarly debate on whether courts should primarily rely on the prevailing understanding
of an individual right when the Fourteenth Amendment was ratified in 1868 when defining its
scope.” Id. at 2138. It declined to resolve that debate because for the purposes of the law at issue,
the public understanding of the right in 1791 and 1868 was “for all relevant purposes, the same[.]”
As discussed infra, p. 59-64, the same applies here; the conclusion remains unchanged regardless of
which period the Court views as more determinative.

47 Thomas Jefferson and John Adams died on July 4, 1826, John Marshall on July 6, 1835, and James

Madison on July 28, 1836. (Id. n. 54.)

48 The law was overturned in part by Nunn v. State, 1 Ga. 243 (1846), which allowed for the ban of

concealed carry of certain weapons but held that it could not simultaneously ban open carry.

49 See also Defs.’ Mem. at 33, citing similar statutes from Alabama, Tennessee, Florida, Virginia,

Alabama, North Carolina, and Massachusetts in effect from the 1830s to the 1870s.

50 See also Andrews v. State, 50 Tenn. 165, 171, 186, 188-89 (1871) (upholding the constitutionality

of a statute making it unlawful for any person to publicly or privately carry a dirk, swordcane,
Spanish stiletto, belt or pocket pistol or revolver” because ““[a]dmitting the right of self-defense in
its broadest sense, still on sound principle every good citizen is bound to yield his preference as to
the means to be used, to the demands of the public good.”)

51 Plaintiffs argue that any laws from the late 19th century after the Civil War have only minimal

relevance, and that laws from the 20th century are irrelevant under Bruen. However, Defendants do
not submit 19th and 20th century regulations in a vacuum, but as part of their broader purported
explanation of why this regulation is part of a “governmental practice” that has been “open,
widespread, and unchallenged since the early days of the Republic,” which Bruen explicitly
permitted; it chose not to address the 20th century evidence submitted because it “contradicts
earlier evidence,” not because 20th century evidence is per se irrelevant. See Bruen, 142 S. Ct. at
2137, 2154 n. 28. Nowhere does Bruen forbid consideration of any regulations or history after the
end of the 19th century, and the Court will consider evidence from this period as it relates to, either
confirming or contradicting, earlier Founding, antebellum, and Reconstruction-era evidence.

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52 See Brady Amicus at 13-14, also discussing the rarity, unreliability, and lack of popularity of the

16-round wheel lock shooter, the Jennings Flintlock, the Pepperbox-style pistol, and the Winchester
repeating rifles, all of which were invented between 1580 and 1873.

53 See also State v. Mitchell, 3 Blackf. 229, 229 (Ind. 1833) (rejecting a Second Amendment challenge

to a state concealed carry law); State v. Reid, 1 Ala. 612, 614, 621 (1840) (upholding a concealed
carry conviction under a state right to bear arms because “[t]here was no evidence . . . that the
defendant could not have defended himself as successfully, by carrying the pistol openly, as by
secreting it about his person.”) Bruen itself recognized that “States could lawfully eliminate one
kind of public carry—concealed carry—so long as they left open the option to carry openly.” Bruen,
142 S. Ct. at 2150.

54 (See Cornell Decl. ¶ 14) (explaining that “infringe” during the time of the Founding era meant to

“violate” or “destroy”, as opposed to phrases like “abridge” as used in the First Amendment, which
mean to “reduce.”)

55 Because Defendants have already identified two historical analogues and given the Bruen and

Heller courts’ skepticism of the applicability of gunpowder regulations to firearm regulation, the
Court declines to address the parties’ arguments regarding whether gunpowder regulations are
relevantly similar analogues.




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                                 ADDENDUM “B”

Issue:

Did the district court err when it denied Plaintiff’s motion for preliminary
injunction enjoining Connecticut’s “assault weapons” ban and “high capacity
magazine ban” when the undisputed evidence was that the banned weapons are in
common use by laws-abiding citizens for lawful purposes?

Standard of Review:

The appellate court reviews a denial of a preliminary injunction for abuse of
discretion. Nicosia v. Amazon.com, Inc., 834 F.3d 220, 238 (2d Cir. 2016). “A district
court has abused its discretion if it has (1) based its ruling on an erroneous view of
the law, (2) made a clearly erroneous assessment of the evidence, or (3) rendered a
decision that cannot be located within the range of permissible decisions.” Warren v.
Pataki, 823 F.3d 125, 137 (2d Cir. 2016) (quoting Lynch v. City of New York, 589
F.3d 94, 99 (2d Cir. 2009)). The court reviews de novo the district court’s resolution
of questions of law implicated in a request for a preliminary injunction. Lusk v.
Village of Cold Spring, 475 F.3d 480, 484 (2d Cir. 2007).
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                               CERTIFICATE OF SERVICE

I hereby certify that on August 25, 2023, I electronically filed a true and correct copy of the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing via email to counsel of record:

/s/ Barry K. Arrington
_______________________
Barry K. Arrington
